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                                                                                                    805 Broadway Street                               T: (360) 696-3312
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                                                                                                    Vancouver, WA 98666                               www.landerholm.com



STATEMENT



       DALE E. ANDERSON                                 INVOICE DATE:                                                                                                                      MAY 30, 2024
       ATTN: JERI DAY                                   INVOICE NUM.:                                                                                                                          XXXXXX
       949 RUE GRAND PARADIS LANE
       HENDERSON, NV 89011                              MATTER NUMBER:                                                                                                                   ANDD02-000037
                           PLEASE DETACH ABOVE AND RETURN WITH PAYMENT

       RE:           STATE FARM LITIGATION

       FOR PROFESSIONAL SERVICES RENDERED

DATE            NAME                                                   HOURS                AMOUNT                DESCRIPTION
2/13/2019       BRADLEY W. ANDERSEN                                          0.60                216.00 MEET WITH ATTORNEY STOUMBOS TO DISCUSS
                                                                                                        PROCEEDING FORWARD WITH CLAIM AGAINST
                                                                                                        THE INSURANCE COMPANY ON BAD FAITH CLAIMS.
2/13/2019       ZACHARY H. STOUMBOS                                          1.10                385.00 ANALYZE BAD FAITH CLAIM AND
                                                                                                        COMMUNICATIONS WITH ATTORNEY.
2/14/2019       ZACHARY H. STOUMBOS                                          0.30                105.00 ASSEMBLE DOCUMENTS FOR ANALYSIS OF CLAIM.
2/28/2019       BRADLEY W. ANDERSEN                                          2.80             1,008.00 MEETING WITH ATTORNEY STOUMBOUS AND DALE
                                                                                                       ANDERSEN REGARDING STATUS OF CASE;
                                                                                                       DISCUSS STRATEGIES GOING FORWARD.
2/28/2019       ZACHARY H. STOUMBOS                                          1.50                525.00 CONFERENCE WITH DALE ANDERSON TO REVIEW
                                                                                                        CLAIM.
3/5/2019        BRADLEY W. ANDERSEN                                          0.30                108.00 ANALYZE ISSUES WITH A REVIEW OF THE
                                                                                                        POTENTIAL CLAIMS WITH PHIL HABERTHUR.
3/9/2019        BRADLEY W. ANDERSEN                                          2.20                792.00 ANALYZE CASE FOR DRAFTING AN ENGAGEMENT
                                                                                                        LETTER (.4); RESEARCH WASHINGTON LAW WITH
                                                                                                        REGARD TO TREBLE DAMAGES AND ATTORNEY'S
                                                                                                        FEES (1.5) ; DRAFT AND REVISE ENGAGEMENT
                                                                                                        LETTER FOR ZACH STOUMBOS' REVIEW (.3).
4/24/2019       BRADLEY W. ANDERSEN                                          0.50                180.00 REVIEW AND RESPOND TO E-MAIL FROM DALE
                                                                                                        REGARDING POTENTIAL CLAIMS AGAINST THE
                                                                                                        INSURANCE COMPANY FOR BAD FAITH CLAIMS
                                                                                                        HANDLING.
4/26/2019       CLAIRE L ROOTJES                                             0.50                147.50 REVIEW CORRESPONDENCE AND LEGAL
                                                                                                        AUTHORITY IN PREPARATION FOR DRAFTING
                                                                                                        DEMAND LETTER AND COMPLAINT.



       “Pursuant to regulations effective January 1, 1998, a Payor who makes payment to an Attorney, in the ordinary course of a trade or business, must file an Information Return with the IRS and the Payee reporting
       such payment.Please consult with your tax preparer to determine the property categorization of your payment(s).Our Tax identification number appears above.”
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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
4/29/2019               CLAIRE L ROOTJES                                              0.30                   88.50 COMMUNICATE WITH B. ANDERSON REGARDING
                                                                                                                   LEGAL THEORIES AND FACTS OF CASE.
4/29/2019               ZACHARY H. STOUMBOS                                           1.10                385.00 REVIEW AND ANALYZE STATUTE OF LIMITATIONS
                                                                                                                 FOR STATE FARM CLAIMS.
5/1/2019                CLAIRE L ROOTJES                                              0.90                265.50 BEGIN TO GATHER AND ANALYZE AUTHORITIES
                                                                                                                 REGARDING STATUTES OF LIMITATIONS FOR
                                                                                                                 INSURANCE CLAIMS IN WASHINGTON.
5/2/2019                CLAIRE L ROOTJES                                              2.30                678.50 GATHER AND ANALYZE AUTHORITIES REGARDING
                                                                                                                 INSURANCE FAIR CONDUCT ACT AND
                                                                                                                 WASHINGTON CPA IN ADVANCE OF DRAFTING
                                                                                                                 DEMAND LETTER AND COMPLAINT.
5/3/2019                CLAIRE L ROOTJES                                              2.50                737.50 CONTINUE DRAFTING DEMAND LETTER (.4) AND
                                                                                                                 BEGIN DRAFTING COMPLAINT (2.1).
5/8/2019                CLAIRE L ROOTJES                                              0.80                236.00 DRAFT COMPLAINT AGAINST STATE FARM.
5/9/2019                CLAIRE L ROOTJES                                              2.90                855.50 CONTINUE TO DRAFT COMPLAINT AND GATHER
                                                                                                                 AUTHORITIES IN SUPPORT OF SAME.
5/10/2019               CLAIRE L ROOTJES                                              1.30                383.50 CONTINUE TO DRAFT AND REVISE COMPLAINT (.8)
                                                                                                                 AND DEMAND LETTER TO STATE FARM (.5).
5/11/2019               ZACHARY H. STOUMBOS                                           0.50                175.00 REVIEW AND COMMENTS ON DRAFT DEMAND
                                                                                                                 LETTER.
5/14/2019               CLAIRE L ROOTJES                                              1.40                413.00 REVIEW CORRESPONDENCE FROM STATE FARM
                                                                                                                 (.4) AND REVISE DEMAND LETTER (1.1).
7/7/2019                BRADLEY W. ANDERSEN                                           2.80             1,008.00 CONTINUE TO REVIEW AND REVISE LETTER TO
                                                                                                                INSURANCE COMPANY.
7/7/2019                BRADLEY W. ANDERSEN                                           1.50                540.00 REVIEW DOCUMENTS RELATED TO THE DENIAL OF
                                                                                                                 OUR CLAIM (.4) AND CONTINUE TO RESEARCH LAW
                                                                                                                 WITH REGARD TO BAD FAITH BY INSURANCE
                                                                                                                 COMPANIES (1.1).
7/9/2019                BRADLEY W. ANDERSEN                                           0.60                216.00 LONG TELEPHONE CONFERENCE WITH ATTORNEY
                                                                                                                 BRAD SMITH WITH REGARD TO BAD FAITH CLAIMS.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
9/9/2019                BRADLEY W. ANDERSEN                                           1.50                540.00 RESEARCH EFFECT OF A MISSING INSURANCE
                                                                                                                 POLICY AND BURDENS OF PROOF AT TRIAL.
9/9/2019                BRADLEY W. ANDERSEN                                           1.80                648.00 CONTINUE REVIEW OF INSURANCE POLICIES AND
                                                                                                                 ANALYSIS REGARDING COVERAGE.
9/11/2019               BRADLEY W. ANDERSEN                                           1.00                360.00 MEET WITH ZACH TO ADVISE HIM OF ADDITIONAL
                                                                                                                 AREAS OF INVESTIGATION (.1); RESEARCH THE
                                                                                                                 ISSUE OF STATUTE OF LIMITATIONS (.4).
9/19/2019               BRADLEY W. ANDERSEN                                           0.50                180.00 LONG MEETING WITH ZACH TO GET INFORMATION
                                                                                                                 TO PASS ONTO OUR INSURANCE ATTORNEY BRAD
                                                                                                                 SMITH.
9/19/2019               ZACHARY H. STOUMBOS                                           0.40                140.00 ASSEMBLE DOCUMENTS FOR REVIEW REGARDING
                                                                                                                 CLAIMS AGAINST STATE FARM.
9/20/2019               BRADLEY W. ANDERSEN                                           0.90                324.00 TELEPHONE CONFERENCE WITH THE INSURANCE
                                                                                                                 ATTORNEY BRAD SMITH TO ANALYZE POTENTIAL
                                                                                                                 CLAIMS AGAINST INSURER AND TO DISCUSS
                                                                                                                 STRATEGIES FOR GOING FORWARD.
9/22/2019               BRADLEY W. ANDERSEN                                           1.50                540.00 CONTINUE TO DRAFT AND REVISE LETTER FOR
                                                                                                                 ZACH, DALE AND BRAD'S REVIEW.
9/22/2019               BRADLEY W. ANDERSEN                                           1.50                540.00 CONTINUE TO RESEARCH CASES INVOLVING THE
                                                                                                                 DUTIES OF AGENTS WITH REGARD TO
                                                                                                                 REPRESENTATIONS ABOUT POLICY.
9/22/2019               BRADLEY W. ANDERSEN                                           0.80                288.00 CONTINUE TO REVIEW THE UNDERLYING POLICIES
                                                                                                                 AND CONSIDER COMMENTS MADE BY BRAD
                                                                                                                 SMITH.
9/23/2019               BRADLEY W. ANDERSEN                                           1.00                360.00 REVIEW AND ANALYZE MEDICAL REPORTS WITH
                                                                                                                 REGARD TO THEORY OF INADEQUATE
                                                                                                                 INVESTIGATION BY INSURER.
9/23/2019               BRADLEY W. ANDERSEN                                           1.00                360.00 CONTINUE TO WORK ON LETTER TO STATE FARM.
9/23/2019               ZACHARY H. STOUMBOS                                           0.50                175.00 REVIEW AND ANALYZE POTENTIAL CLAIMS
                                                                                                                 AGAINST INSURER.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
9/24/2019               BRADLEY W. ANDERSEN                                           2.20                792.00 CONTINUE TO REVIEW AND REVISE LETTER,
                                                                                                                 INCLUDING AN ANALYSIS REGARDING
                                                                                                                 INADEQUATE INVESTIGATION BY CLAIMS
                                                                                                                 ADJUSTER.
10/11/2019 ZACHARY H. STOUMBOS                                                        0.50                175.00 REVIEW AND ANALYZE DRAFT LETTER TO STATE
                                                                                                                 FARM.
10/14/2019 ZACHARY H. STOUMBOS                                                        0.20                   70.00 REVIEW AND RESPOND TO CORRESPONDENCE
                                                                                                                   AND MEMORANDUM REGARDING LAW ON MISSING
                                                                                                                   INSURANCE POLICIES.
10/23/2019 BRADLEY W. ANDERSEN                                                        1.30                468.00 REVIEW MY DRAFT LETTER IN PREPARATION FOR
                                                                                                                 MEETING WITH BRAD SMITH, ZACH STOUMBOS
                                                                                                                 AND DALE WITH REGARD TO FINALIZING THE
                                                                                                                 LETTER.
10/23/2019 ZACHARY H. STOUMBOS                                                        1.20                420.00 TELEPHONE CONFERENCE REGARDING LETTER
                                                                                                                 TO STATE FARM AND PREOVIDE COMMENTS ON
                                                                                                                 SAME.
10/25/2019 CURTIS J CHRISTENSEN                                                       0.30                   49.50 RESEARCH CONTACT INFORMATION FOR RETIRED
                                                                                                                   ATTORNEY, PEGGY FORAKER AND LEAVE
                                                                                                                   VOICEMAIL FOR MS. FORAKER FOR INTERVIEW.
11/1/2019               BRADLEY W. ANDERSEN                                           1.80                648.00 BEGIN TO REVIEW THE PROPOSED CHANGES TO
                                                                                                                 MY DEMAND LETTER AND INCORPORATE THOSE
                                                                                                                 CHANGES IN THE LETTER.
11/3/2019               BRADLEY W. ANDERSEN                                           3.20             1,152.00 CONTINUE TO DRAFT AND REVISE DEMAND
                                                                                                                LETTER TO STATE FARM FOR FINAL REVIEW BY
                                                                                                                BRAD SMITH AND DALE ANDERSON.
11/4/2019               BRADLEY W. ANDERSEN                                           1.00                360.00 REVIEW AND INCORPORATE BRAD SMITH
                                                                                                                 CHANGES AND DALE'S CHANGES AND MAKE FINAL
                                                                                                                 CHANGES TO THE DEMAND LETTER AND
                                                                                                                 ARRANGE TO SEND OUT THE DEMAND WITH
                                                                                                                 COPIES TO THE INSURANCE COMMISSIONER.
11/8/2019               CURTIS J CHRISTENSEN                                          0.20                   33.00 TELEPHONE CONFERENCE WITH PEGGY FORAKER
                                                                                                                   REGARDING DOCUMENTS NEEDED FOR ANALYSIS.




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DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
11/11/2019 AMANDA P BEATSON                                                           1.60                208.00 CONDUCT REVIEW OF PHYSICAL FILES FOR
                                                                                                                 CORRESPONDENCE FROM PREVIOUS COUNSEL,
                                                                                                                 PEGGY FORAKER, AND ORIGINAL SETTLEMENT
                                                                                                                 AGREEMENT.
11/11/2019 CURTIS J CHRISTENSEN                                                       0.60                   99.00 REVIEW ELECTRONIC FILE FOR DOCUMENTS
                                                                                                                   REQUESTED BY PEGGY FORAKER; DISCUSSION
                                                                                                                   WITH PARALEGAL, AMANDA BEATSON,
                                                                                                                   REGARDING REVIEW OF PHYSICAL FILE AND
                                                                                                                   LOCATING DOCUMENTS REQUESTED BY PEGGY
                                                                                                                   FORAKER.
11/14/2019 CURTIS J CHRISTENSEN                                                       0.40                   66.00 FURTHER REVIEW OF FILE FOR DOCUMENTS TO
                                                                                                                   PROVIDE TO PEGGY FORAKER, ATTORNEY (.3).
                                                                                                                   PREPARE LINK TO DOCUMENTS AND E-MAIL
                                                                                                                   PEGGY FORAKER REGARDING SAME (.1).
12/5/2019               CURTIS J CHRISTENSEN                                          0.20                   33.00 FOLLOW-UP WITH PEGGY FORAKER, PREVIOUS
                                                                                                                   ATTORNEY FOR TREJO, REGARDING DISCUSSION
                                                                                                                   ABOUT CASE.
12/9/2019               CURTIS J CHRISTENSEN                                          0.20                   33.00 DISCUSSION WITH ATTORNEY BRAD ANDERSEN
                                                                                                                   REGARDING MEETING WITH ATTORNEY PEGGY
                                                                                                                   FORAKER (.1); EXCHANGE E-MAILS WITH PEGGY
                                                                                                                   FORAKER REGARDING MEETING (.1).
12/16/2019 BRADLEY W. ANDERSEN                                                        0.80                288.00 REVIEW AND ANALYZE DENIAL LETTER FROM THE
                                                                                                                 INSURANCE COMPANY AND FORWARD TO
                                                                                                                 CLIENTS AND BRAD SMITH WITH GENERAL
                                                                                                                 COMMENTS.
12/17/2019 ZACHARY H. STOUMBOS                                                        0.30                105.00 REVIEW AND COMMENT ON STATE FARM'S DENIAL
                                                                                                                 LETTER.
12/18/2019 BRADLEY W. ANDERSEN                                                        0.30                108.00 REVIEW THE UNDERWRITING FILES AND
                                                                                                                 FORWARD ONTO BRAD AND CLIENT WITH MY
                                                                                                                 REVIEW AND COMMENTS REGARDING THE
                                                                                                                 UNDERWRITER'S FILE.
12/18/2019 BRADLEY W. ANDERSEN                                                        0.30                108.00 EXCHANGE OF VOICE MESSAGES WITH
                                                                                                                 INSURANCE ADJUSTER STEVE MCALLISTER TO
                                                                                                                 GET COPIES OF THE UNDERWRITING FILE.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
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                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
12/21/2019 BRADLEY W. ANDERSEN                                                        0.30                108.00 REVIEW E-MAILS BETWEEN BRAD SMITH AND
                                                                                                                 DALE WITH REGARD TO FACTUAL ALLEGATIONS IN
                                                                                                                 COMPLAINT AGAINST STATE FARM.
1/2/2020                CURTIS J CHRISTENSEN                                          0.30                   49.50 TELEPHONE CONFERENCE WITH PEGGY FORAKER
                                                                                                                   REGARDING MEETING WITH ATTORNEY (.2); E-MAIL
                                                                                                                   PEGGY FORAKER TO CONFIRM MEETING (.1).
1/4/2020                BRADLEY W. ANDERSEN                                           1.50                555.00 REVIEW AND REVISE COMPLAINT FOR FINAL
                                                                                                                 REVIEW AND FILING.
1/7/2020                BRADLEY W. ANDERSEN                                           0.30                111.00 EXCHANGE OF E-MAILS WITH BRAD SMITH WITH
                                                                                                                 REGARD TO CHANGES TO THE COMPLAINT.
1/20/2020               CURTIS J CHRISTENSEN                                          0.30                   54.00 TELEPHONE CONFERENCE WITH PEGGY FORAKER
                                                                                                                   REGARDING MEETING (.2); E-MAIL PEGGY
                                                                                                                   FORAKER REGARDING NEW MEETING DATE AND
                                                                                                                   TIME (.1).
1/28/2020               BRADLEY W. ANDERSEN                                           2.00                750.00 TRAVEL TO NORTHEAST PORTLAND AND
                                                                                                                 INTERVIEW PEGGY FORAKER.
1/28/2020               BRADLEY W. ANDERSEN                                           0.70                262.50 REVIEW THE NOTES, E-MAILS AND OTHER
                                                                                                                 DOCUMENTS IN PREPARATION FOR AN INTERVIEW
                                                                                                                 OF TREJO'S ATTORNEY PEGGY FORAKER.
1/28/2020               CURTIS J CHRISTENSEN                                          1.10                198.00 MEET WITH ATTORNEY TO DISCUSS CASE (.2);
                                                                                                                 REVIEW AND LOCATE REQUESTED FILE
                                                                                                                 MATERIALS (.7); PREPARE DOCUMENTS FOR
                                                                                                                 MEETING WITH PEGGY FORAKER (.2).
1/28/2020               MONICA M RECH                                                 0.50                     0.00 TRANSCRIBE TAPE OF INTERVIEW OF PEGGY
                                                                                                                    FORAKER.
1/29/2020               BRADLEY W. ANDERSEN                                           0.50                187.50 PREPARE SUMMARY OF INTERVIEW WITH PEGGY
                                                                                                                 FORAKER.
1/30/2020               MONICA M RECH                                                 0.60                     0.00 SCAN COPIES OF ALL EXPERT REPORTS INTO
                                                                                                                    LITIGATION FILE.
1/30/2020               CURTIS J CHRISTENSEN                                          0.20                     0.00 DISCUSSION WITH CLERK REGARDING DIGITIZING
                                                                                                                    ALL FILES FOR LITIGATION.




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DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
2/7/2020                BRADLEY W. ANDERSEN                                           1.50                555.00 MAKE FINAL CHANGES TO THE COMPLAINT.
2/11/2020               R. BRYCE SINNER                                               0.90                279.00 REVIEW AND FINAL EDITS TO COMPLAINT PRIOR
                                                                                                                 TO FILING.
3/2/2020                CURTIS J CHRISTENSEN                                          0.20                   36.00 REVIEW LITIGATION STATUS AND LOCAL COURT
                                                                                                                   RULES FOR INITIAL DISCLOSURES (.1) AND E-MAIL
                                                                                                                   TEAM REGARDING SAME (.1).
3/10/2020               ZACHARY H. STOUMBOS                                           0.10                   35.00 ANALYZE ISSUES REGARDING MAGISTRATE
                                                                                                                   JURISDICTION OVER CLAIMS AGAINST STATE
                                                                                                                   FARM.
3/23/2020               AMANDA P BEATSON                                              0.90                117.00 DRAFT PLAINTIFFS' INITIAL DISCLOSURES.
3/23/2020               R. BRYCE SINNER                                               0.20                   62.00 REVIEW COURT'S SCHEDULING ORDERS.
3/24/2020               AMANDA P BEATSON                                              0.60                   78.00 CONTINUE TO DRAFT PLAINTIFF'S INITIAL
                                                                                                                   DISCLOSURES.
3/24/2020               CURTIS J CHRISTENSEN                                          0.20                   36.00 REVIEW VARIOUS COURT DEADLINES (.1) AND
                                                                                                                   TELEPHONE CONFERENCE WITH AMANDA
                                                                                                                   BEATSON REGARDING WITNESS LIST ON INITIAL
                                                                                                                   DISCLOSURES (.1).
3/30/2020               CURTIS J CHRISTENSEN                                          0.50                   90.00 REVISE INITIAL DISCLOSURES FOR ATTORNEY
                                                                                                                   REVIEW.
4/1/2020                BRADLEY W. ANDERSEN                                           0.60                222.00 PREPARE FOR AND ATTEND THE PRETRIAL
                                                                                                                 CONFERENCE.
4/1/2020                BRADLEY W. ANDERSEN                                           0.70                259.00 DRAFT AND REVISE THE PRETRIAL ORDER.
4/6/2020                CURTIS J CHRISTENSEN                                          0.20                   36.00 DISCUSSION WITH ATTORNEY REGARDING CASE
                                                                                                                   DEADLINES AND STATUS OF DRAFT INITIAL
                                                                                                                   DISCLOSURES.
4/9/2020                CURTIS J CHRISTENSEN                                          2.10                378.00 REVIEW AND REVISE INITIAL DISCLOSURES.
4/23/2020               R. BRYCE SINNER                                               0.80                248.00 BEGIN REVIEWING AND EDITING INITIAL
                                                                                                                 DISCLOSURES (.5); REVIEW COMPLAINT TO
                                                                                                                 IDENTIFY RELEVANT WITNESSES AND FACTS (.3).




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DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
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DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
4/24/2020               CURTIS J CHRISTENSEN                                          0.50                   90.00 TELEPHONE CONFERENCE WITH BRYCE SINNER
                                                                                                                   REGARDING DRAFT INITIAL DISCLOSURES AND
                                                                                                                   FINALIZING SAME.
4/24/2020               R. BRYCE SINNER                                               1.30                403.00 FINISH REVIEWING INITIAL DISCLOSURES.
4/24/2020               R. BRYCE SINNER                                               0.40                124.00 FURTHER CORRESPONDENCE WITH BRAD SMITH
                                                                                                                 AND FINAL CHANGES TO INITIAL DISCLOSURES.
4/24/2020               R. BRYCE SINNER                                               0.40                124.00 REVIEW BRAD SMITH'S COMMENTS ON INITIAL
                                                                                                                 DISCLOSURES (.1); MAKE CHANGES AND
                                                                                                                 FORWARD TO BRAD (.3).
4/27/2020               BRADLEY W. ANDERSEN                                           0.40                148.00 RESEARCH REGARDING CASE LAW ON DUTIES TO
                                                                                                                 “FIRST PARTY INSUREDS” FOR PURPOSES OF
                                                                                                                 TREBLE DAMAGES.
4/27/2020               BRADLEY W. ANDERSEN                                           0.50                185.00 REVIEW AND REVISE THE INITIAL DISCLOSURES.
4/28/2020               CURTIS J CHRISTENSEN                                          0.70                126.00 DRAFT FIRST SET OF REQUESTS FOR
                                                                                                                 PRODUCTION OF DOCUMENTS TO DEFENDANT
                                                                                                                 (.5); INVESTIGATE CAROL FUNK CONTACT
                                                                                                                 INFORMATION (.2).
4/30/2020               CURTIS J CHRISTENSEN                                          0.30                   54.00 REVIEW JOINT STATUS REPORT (.2) AND SUBMIT
                                                                                                                   COMMENTS REGARDING DISCOVERY PLAN (.1).
5/21/2020               CURTIS J CHRISTENSEN                                          0.10                   18.00 RESPOND TO E-MAIL FROM ATTORNEY BRYCE
                                                                                                                   SINNER REGARDING DISCOVERY STATUS.
6/15/2020               CURTIS J CHRISTENSEN                                          0.50                   90.00 DRAFT DISCOVERY RESPONSES (.4); E-MAIL
                                                                                                                   CLIENT REGARDING RESPONSES TO SAME (.1).
6/26/2020               CURTIS J CHRISTENSEN                                          0.30                   54.00 TELEPHONE CONFERENCE WITH CLIENT
                                                                                                                   REGARDING DISCOVERY (.2); E-MAIL ATTORNEYS
                                                                                                                   REGARDING RESPONDING TO DISCOVERY (.1).
6/29/2020               CURTIS J CHRISTENSEN                                          0.20                   36.00 TELEPHONE CONFERENCE WITH CLIENT
                                                                                                                   REGARDING DISCOVERY MEETING (.1); E-MAIL
                                                                                                                   ATTORNEY REGARDING MEETING WITH CLIENT
                                                                                                                   (.1).




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
7/1/2020                CURTIS J CHRISTENSEN                                          0.20                     0.00 EXCHANGE E-MAILS WITH FIRM ADMINISTRATOR
                                                                                                                    REGARDING CLIENT MEETING (.1); RESPOND TO
                                                                                                                    ATTORNEY REGARDING POTENTIAL
                                                                                                                    ALTERNATIVES IN LIGHT OF PANDEMIC
                                                                                                                    RESTRICTIONS (.1).
7/6/2020                BRADLEY W. ANDERSEN                                           0.40                148.00 MEET WITH ZACH AND CURTIS TO BEGIN TO
                                                                                                                 COMPILE RELEVANT POLICY DOCUMENTS.
7/6/2020                CURTIS J CHRISTENSEN                                          0.20                   36.00 CONTACT FARMERS INSURANCE REGARDING
                                                                                                                   POLICY RELATED TO ALLWOOD APARTMENTS (.1);
                                                                                                                   TELEPHONE CONFERENCE WITH AARON
                                                                                                                   HOROWITZ (.1).
7/6/2020                CURTIS J CHRISTENSEN                                          0.80                144.00 TELEPHONE CONFERENCE WITH ATTORNEYS
                                                                                                                 REGARDING DISCOVERY REQUESTS (.5);
                                                                                                                 TELEPHONE CONFERENCE WITH CLIENT
                                                                                                                 REGARDING INSURANCE POLICIES (.3).
7/6/2020                ZACHARY H. STOUMBOS                                           1.00                350.00 REVIEW AND ANALYZE DISCOVERY REQUESTS
                                                                                                                 (.8); REVIEW ISSUE REGARDING CANCELATION BY
                                                                                                                 STATE FARM (.2).
7/7/2020                CURTIS J CHRISTENSEN                                          0.30                   54.00 TELEPHONE CONFERENCE WITH BROWN &
                                                                                                                   BROWN INSURANCE COMPANY REGARDING
                                                                                                                   RECORDS REQUEST (.2); TELEPHONE
                                                                                                                   CONFERENCE WITH CLIENT REGARDING SAME (.1).
7/8/2020                BRADLEY W. ANDERSEN                                           1.20                444.00 BEGIN TO DRAFT ANSWERS TO THE DEFENDANT'S
                                                                                                                 INTERROGATORIES AND REQUEST FOR
                                                                                                                 PRODUCTION OF DOCUMENTS.
7/8/2020                BRADLEY W. ANDERSEN                                           0.40                148.00 TELEPHONE CONFERENCE WITH INSURANCE
                                                                                                                 AGENT AT FARMERS, AARON HOROWITZ,
                                                                                                                 REGARDING COVERAGE ISSUES.
7/8/2020                CURTIS J CHRISTENSEN                                          1.10                198.00 REVIEW DOCUMENTS FROM AARON HOROWITZ
                                                                                                                 (.3); FOLLOW-UP WITH AARON HOROWITZ
                                                                                                                 REGARDING CLARIFICATION OF INSURANCE
                                                                                                                 POLICIES AND REQUEST FOR CONFERENCE WITH
                                                                                                                 ATTORNEY BRAD ANDERSEN (.4); TELEPHONE
                                                                                                                 CONFERENCE WITH BRAD ANDERSEN AND AARON




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
                                                                                                                           HOROWITZ REGARDING POLICIES AND CASE
                                                                                                                           FACTS (.4).
7/10/2020               BRADLEY W. ANDERSEN                                           2.00                740.00 LONG MEETING WITH DALE AND ZACH TO GO
                                                                                                                 OVER OUR RESPONSES TO THEIR DISCOVERY
                                                                                                                 REQUEST AND ALSO TO DETERMINE THE HISTORY
                                                                                                                 OF THE ANDERSON'S INSURANCE POLICIES.
7/10/2020               BRADLEY W. ANDERSEN                                           2.00                740.00 CONTINUE TO DRAFT AND REVISE RESPONSES TO
                                                                                                                 THE DISCOVERY REQUEST.
7/10/2020               CURTIS J CHRISTENSEN                                          1.00                180.00 ZOOM CONFERENCE CALL WITH CLIENT AND
                                                                                                                 ATTORNEYS REGARDING PRIOR INSURANCE
                                                                                                                 POLICIES (.4); DISCUSSION WITH CLIENT
                                                                                                                 REGARDING HISTORY OF INSURANCE POLICIES
                                                                                                                 (.2); MULTIPLE CONFERENCE CALLS WITH
                                                                                                                 ATTORNEYS REGARDING DISCOVERY RESPONSES
                                                                                                                 (.2); E-MAIL OPPOSING COUNSEL REGARDING
                                                                                                                 REQUEST FOR EXTENSION OF DISCOVERY
                                                                                                                 RESPONSES (.2).
7/10/2020               ZACHARY H. STOUMBOS                                           1.60                560.00 ZOOM CONFERENCE WITH DALE REGARDING
                                                                                                                 DISCOVERY RESPONSES.
7/12/2020               BRADLEY W. ANDERSEN                                           1.90                703.00 DRAFT AND REVISE FIRST SET OF DISCOVERY
                                                                                                                 REQUESTS.
7/13/2020               CURTIS J CHRISTENSEN                                          0.30                   54.00 MULTIPLE TELEPHONE CONFERENCES WITH
                                                                                                                   CLIENT REGARDING DOCUMENTS RELATED TO
                                                                                                                   PRIOR INSURANCE POLICIES (.2); COMMUNICATE
                                                                                                                   WITH OFFICE STAFF REGARDING PREPARATION
                                                                                                                   OF MATERIALS (.1).
7/14/2020               BRADLEY W. ANDERSEN                                           0.40                148.00 TELEPHONE CONFERENCE WITH ZACH
                                                                                                                 REGARDING DISCOVERY REQUESTS.
7/14/2020               CURTIS J CHRISTENSEN                                          0.60                108.00 DISCUSSION WITH ATTORNEY REGARDING
                                                                                                                 DISCOVERY RESPONSES AND JOINDER OF
                                                                                                                 ADDITIONAL PARTIES TO CLAIMS AGAINST STATE
                                                                                                                 FARM (.4); CORRESPONDENCE REGARDING SAME
                                                                                                                 (.2).




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
7/14/2020               ZACHARY H. STOUMBOS                                           0.40                140.00 COMMUNICATIONS WITH DALE AND WORK ON
                                                                                                                 DISCOVERY TO INCLUDE AGENT'S FILES.
7/15/2020               CURTIS J CHRISTENSEN                                          0.50                     0.00 WORK WITH ASSISTANT TO FINALIZE DISCOVERY
                                                                                                                    TO DEFENDANTS.
7/20/2020               CURTIS J CHRISTENSEN                                          0.80                144.00 TELEPHONE CONFERENCE WITH JOY PROBY OF
                                                                                                                 BROWN AND BROWN INSURANCE COMPANY
                                                                                                                 REGARDING PRIOR POLICIES (.4); E-MAILS
                                                                                                                 REGARDING SAME (1); REVIEW AND RESPOND TO
                                                                                                                 CLIENT'S E-MAIL REGARDING STATUS OF
                                                                                                                 INSURANCE RESEARCH (.3).
7/21/2020               CURTIS J CHRISTENSEN                                          0.20                   36.00 REVIEW E-MAIL FROM BROWN AND BROWN
                                                                                                                   INSURANCE (.1) AND CONTACT JAMIE TIDD WITH
                                                                                                                   MUTUAL OF ENUMCLAW REGARDING CLIENT
                                                                                                                   POLICIES (.1).
7/21/2020               CURTIS J CHRISTENSEN                                          0.40                   72.00 CONTACT LIBERTY MUTUAL AGENT TROY BURKS
                                                                                                                   REGARDING CLIENT POLICES WITH NIES
                                                                                                                   INSURANCE (.2); E-MAIL TEAM REGARDING
                                                                                                                   CONVERSATION AND POTENTIAL NEXT STEPS (.2).
7/24/2020               CURTIS J CHRISTENSEN                                          1.50                270.00 REVIEW DRAFT DISCOVERY RESPONSES AND
                                                                                                                 CLEAN UP SAME; FOLLOW-UP WITH AARON
                                                                                                                 HOROWITZ REGARDING COPIES OF POLICIES (1.3);
                                                                                                                 REVIEW RESPONSIVE DOCUMENTS AND BEGIN
                                                                                                                 DESIGNATING PRODUCTION SET (.2).
7/27/2020               BRADLEY W. ANDERSEN                                           0.80                296.00 CONTINUE TO REVIEW AND REVISE DISCOVERY
                                                                                                                 RESPONSES (.6); INCLUDING TELEPHONE
                                                                                                                 CONFERENCE WITH DALE AND CURTIS (.2).
7/27/2020               CURTIS J CHRISTENSEN                                          1.20                216.00 CONTINUE REVIEWING DOCUMENTS FOR
                                                                                                                 PRIVILEGE AND RESPONSIVENESS (.6); E-MAIL
                                                                                                                 ATTORNEYS REGARDING COVERAGE ISSUES AT
                                                                                                                 TIME OF TREJO INCIDENT (.4); TELEPHONE
                                                                                                                 CONFERENCE WITH ATTORNEY REGARDING
                                                                                                                 CLIENT INSURANCE POLICY TIMELINE (.2).
7/27/2020               CURTIS J CHRISTENSEN                                          0.60                108.00 REVIEW RESPONSES TO WRITTEN DISCOVERY
                                                                                                                 (.2); E-MAIL ATTORNEYS REGARDING PROPOSED




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DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
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                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
                                                                                                                           CHANGES TO SAME (.2); E-MAIL CLIENT
                                                                                                                           REGARDING FINAL REVIEW AND VERIFICATION OF
                                                                                                                           DISCOVERY RESPONSES (.2).
7/27/2020               CURTIS J CHRISTENSEN                                          0.30                   54.00 ATTEMPT FOLLOW-UP CALL WITH MUTUAL OF
                                                                                                                   ENUMCLAW REGARDING COPIES OF OLD
                                                                                                                   INSURANCE POLICIES (.2); E-MAIL JAMIE TIDD,
                                                                                                                   MUTUAL OF ENUMCLAW, REGARDING SAME (.1).
7/28/2020               BRADLEY W. ANDERSEN                                           0.40                148.00 TELEPHONE CONFERENCE WITH DALE WITH
                                                                                                                 REGARD TO RESPONSES TO DISCOVERY AND TO
                                                                                                                 MAKE CHANGES.
7/28/2020               CURTIS J CHRISTENSEN                                          0.80                144.00 MEET WITH ATTORNEY REGARDING WRITTEN
                                                                                                                 RESPONSES TO DISCOVERY (.6); MULTIPLE PHONE
                                                                                                                 CONFERENCES WITH CLIENT REGARDING
                                                                                                                 WRITTEN RESPONSES AND CHANGES TO SAME
                                                                                                                 (.2).
7/28/2020               CURTIS J CHRISTENSEN                                          2.10                378.00 CONTINUE REVIEWING DOCUMENTS FOR
                                                                                                                 RESPONSIVENESS AND PRIVILEGE AND E-MAIL
                                                                                                                 ATTORNEYS AND CLIENT REGARDING QUESTIONS
                                                                                                                 ABOUT SPECIFIC DOCUMENTS.
7/28/2020               CURTIS J CHRISTENSEN                                          0.20                     0.00 EXCHANGE E-MAILS WITH CLERK REGARDING
                                                                                                                    FILES PROVIDED BY CLIENT.
7/29/2020               BRADLEY W. ANDERSEN                                           0.50                185.00 FINALIZE RESPONSES TO INCORPORATE DALE
                                                                                                                 AND ZACH'S COMMENTS.
7/29/2020               CURTIS J CHRISTENSEN                                          0.20                   36.00 DISCUSSION WITH ATTORNEY AND CLIENT
                                                                                                                   REGARDING AMENDED DISCOVERY RESPONSES.
7/29/2020               CURTIS J CHRISTENSEN                                          0.10                   18.00 REVIEW AND RESPOND TO JAMIE TIDD WITH
                                                                                                                   MUTUAL OF ENUMCLAW INSURANCE REGARDING
                                                                                                                   COPIES OF PRIOR INSURANCE POLICIES.
7/30/2020               CURTIS J CHRISTENSEN                                          0.50                   90.00 TELEPHONE CONFERENCE WITH CLIENT
                                                                                                                   REGARDING FINAL REVISIONS TO RESPONSES (.3);
                                                                                                                   DISCUSSION WITH ATTORNEY REGARDING SAME
                                                                                                                   (.1); MAKE REVISIONS AND E-MAIL CLIENT FINAL
                                                                                                                   VERSION FOR REVIEW AND SIGNATURE (.1).




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
7/30/2020               CURTIS J CHRISTENSEN                                          0.20                   36.00 EXCHANGE MULTIPLE E-MAILS WITH MUTUAL OF
                                                                                                                   ENUMCLAW TO OBTAIN COPIES OF CLIENT
                                                                                                                   POLICIES.
7/31/2020               CURTIS J CHRISTENSEN                                          0.30                   54.00 CONTINUE REVIEW OF CLIENT FILES AND
                                                                                                                   IDENTIFYING RESPONSIVE DOCUMENTS FOR
                                                                                                                   PRODUCTION.
8/3/2020                CURTIS J CHRISTENSEN                                          1.30                234.00 CONTINUE REVIEWING DOCUMENTS FOR
                                                                                                                 RESPONSIVENESS AND REMOVE DUPLICATE
                                                                                                                 FILES (.9); E-MAIL OPPOSING COUNSEL WRITTEN
                                                                                                                 RESPONSES TO DISCOVERY (.4).
8/4/2020                CURTIS J CHRISTENSEN                                          0.10                   18.00 FOLLOW-UP WITH MUTUAL OF ENUMCLAW
                                                                                                                   REGARDING LACK OF RESPONSE TO REQUEST
                                                                                                                   FOR DOCUMENTS.
8/13/2020               CURTIS J CHRISTENSEN                                          0.10                   18.00 REVIEW AND RESPOND TO OPPOSING COUNSEL'S
                                                                                                                   E-MAIL REGARDING DISCOVERY.
8/18/2020               CURTIS J CHRISTENSEN                                          0.10                   18.00 FOLLOW-UP WITH FARMER'S INSURANCE AGENT
                                                                                                                   REGARDING STATUS OF FILE REQUEST.
8/31/2020               CURTIS J CHRISTENSEN                                          0.20                   36.00 DISCUSSION WITH ASSISTANT AND ATTORNEY
                                                                                                                   REGARDING NEXT STEPS (.1); RESPOND TO
                                                                                                                   OPPOSING COUNSEL REGARDING REQUEST FOR
                                                                                                                   ADDITIONAL TIME TO RESPOND TO DISCOVERY
                                                                                                                   (.1).
9/14/2020               CURTIS J CHRISTENSEN                                          0.20                   36.00 FOLLOW-UP WITH OPPOSING COUNSEL
                                                                                                                   REGARDING DISCOVERY RESPONSES AND
                                                                                                                   DOCUMENT PRODUCTION.
9/22/2020               BRADLEY W. ANDERSEN                                           0.80                296.00 REVIEW AND ANALYZE STATE FARM'S
                                                                                                                 RESPONSES TO OUR DISCOVERY REQUEST.
9/22/2020               BRADLEY W. ANDERSEN                                           1.20                444.00 LONG TELEPHONE CONFERENCE WITH BRAD AND
                                                                                                                 ZACH WITH REGARD TO STATE FARM'S
                                                                                                                 RESPONSES AND OUR FOLLOW-UP WITH
                                                                                                                 ADDITIONAL INFORMATION REQUESTS.




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DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
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DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
9/22/2020               BRADLEY W. ANDERSEN                                           0.30                111.00 EMAIL PARALEGAL REGARDING POLICIES
                                                                                                                 REFERRED TO BY STATE FARM IN THEIR
                                                                                                                 DISCOVERY RESPONSES.
9/22/2020               CURTIS J CHRISTENSEN                                          0.40                   72.00 E-MAIL OPPOSING COUNSEL REGARDING FAILURE
                                                                                                                   TO PRODUCE DOCUMENTS (.2); DISCUSSION WITH
                                                                                                                   BRAD ANDERSEN REGARDING NEXT STEPS (.1); E-
                                                                                                                   MAIL BRAD SMITH COPY OF FORM CHRONOLOGY
                                                                                                                   FOR CASE DEVELOPMENT (.1).
9/22/2020               ZACHARY H. STOUMBOS                                           0.80                280.00 CONFERENCE CALL WITH ATTORNEYS TO REVIEW
                                                                                                                 DISCOVERY RESPONSES OF STATE FARM.
9/23/2020               BRADLEY W. ANDERSEN                                           0.40                148.00 CONTINUE TO REVIEW STATE FARM DISCOVERY
                                                                                                                 RESPONSES AND ANALYZE COVERAGE ISSUES.
9/23/2020               CURTIS J CHRISTENSEN                                          0.30                   54.00 TELEPHONE CONFERENCE WITH ATTORNEYS
                                                                                                                   REGARDING POLICY IDENTIFIED BY OPPOSING
                                                                                                                   COUNSEL.
9/24/2020               CURTIS J CHRISTENSEN                                          0.20                   36.00 E-MAIL CLIENT REGARDING DISCOVERY
                                                                                                                   RESPONSES FROM STATE FARM AND
                                                                                                                   CLARIFICATION OF NEW POLICY NUMBER
                                                                                                                   REFERENCED IN INSURER'S RESPONSES.
10/7/2020               CURTIS J CHRISTENSEN                                          1.10                198.00 REVIEW STATE FARM'S DISCOVERY RESPONSES
                                                                                                                 (.5); REVIEW CLIENT'S DOCUMENTS PROVIDED
                                                                                                                 RELATED TO ALL INSURANCE POLICIES (.3);
                                                                                                                 TELEPHONE CONFERENCE WITH CLIENT
                                                                                                                 REGARDING STATE FARM'S RESPONSES; E-MAIL
                                                                                                                 TEAM REGARDING POLICY IDENTIFIED IN STATE
                                                                                                                 FARM'S RESPONSES (.3).
10/8/2020               CURTIS J CHRISTENSEN                                          0.30                   54.00 TELEPHONE CONFERENCE WITH ATTORNEY
                                                                                                                   REGARDING DIFFERENT POLICIES WITH STATE
                                                                                                                   FARM AT TIME OF INCIDENT.
11/10/2020 CURTIS J CHRISTENSEN                                                       0.20                   36.00 DISCUSSION WITH ASSISTANT REGARDING
                                                                                                                   STATUS OF MATTER (.1); REVIEW PROPOSED
                                                                                                                   STIPULATED PROTECTION ORDER (.1).




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DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
11/19/2020 CURTIS J CHRISTENSEN                                                       0.20                   36.00 TELEPHONE CONFERENCE WITH BRAD SMITH
                                                                                                                   REGARDING DISCOVERY STATUS.
11/24/2020 BRADLEY W. ANDERSEN                                                        0.40                148.00 TELEPHONE CONFERENCE WITH POTENTIAL
                                                                                                                 EXPERTS.
11/24/2020 BRADLEY W. ANDERSEN                                                        1.30                481.00 REVIEW THE CHRONOLOGY PROVIDED BY BRAD
                                                                                                                 SMITH IN PREPARATION FOR TELEPHONE
                                                                                                                 CONFERENCE WITH BRAD.
11/24/2020 BRADLEY W. ANDERSEN                                                        1.00                370.00 TELEPHONE CONFERENCE WITH BRAD SMITH TO
                                                                                                                 DISCUSS HIS FINDINGS WITH REGARD TO THE
                                                                                                                 CLAIMS' FILE.
11/24/2020 CURTIS J CHRISTENSEN                                                       1.40                252.00 TELEPHONE CONFERENCE WITH ATTORNEYS
                                                                                                                 REGARDING STATUS OF DISCOVERY AND NEXT
                                                                                                                 STEPS IN MATTER.
11/25/2020 BRADLEY W. ANDERSEN                                                        5.00             1,850.00 BEGIN TO REVIEW AND COMPILE AS HOT
                                                                                                                DOCUMENTS THE DISCOVERY PROVIDED BY THE
                                                                                                                INSURANCE COMPANY, INCLUDING KEY
                                                                                                                WITNESSES AND CHRONOLOGY.
11/29/2020 BRADLEY W. ANDERSEN                                                        5.00             1,850.00 CONTINUE TO REVIEW THE DISCOVERY PROVIDED
                                                                                                                BY INSURANCE COMPANY, INCLUDING WORKING
                                                                                                                ON THE CHRONOLOGY AND LIST OF WITNESSES.
12/4/2020               NICHOLAS F CODY                                               0.30                   75.00 REVIEW PROPOSED STIPULATED PROTECTIVE
                                                                                                                   ORDER.
12/16/2020 BRADLEY W. ANDERSEN                                                        1.20                444.00 LONG TELEPHONE CONFERENCE WITH DALE,
                                                                                                                 ZACH AND BRAD SMITH WITH REGARD TO
                                                                                                                 DISCOVERY ANALYSIS REGARDING MERITS OF
                                                                                                                 CLAIM AGAINST STATE FARM, AND DISCUSS NEXT
                                                                                                                 STEPS GOING FORWARD ON DISCOVERY.
12/16/2020 NICHOLAS F CODY                                                            1.60                400.00 TELEPHONE CONFERENCE WITH CLIENT AND
                                                                                                                 ATTORNEYS ANDERSEN, STOUMBOS, AND SMITH
                                                                                                                 REGARDING LITIGATION AGAINST STATE FARM,
                                                                                                                 ANALYSIS OF DOCUMENTS PRODUCED IN
                                                                                                                 DISCOVERY, POTENTIAL DEPONENTS, CASE
                                                                                                                 STRATEGY/THEMES/THEORIES, AND NEXT STEPS.




“Pursuant to regulations effective January 1, 1998, a Payor who makes payment to an Attorney, in the ordinary course of a trade or business, must file an Information Return with the IRS and the Payee reporting such payment. Please
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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
12/16/2020 ZACHARY H. STOUMBOS                                                        1.20                420.00 TELEPHONE CONFERENCE REGARDING
                                                                                                                 DISCOVERY AND LITIGATION STRATEGY.
12/29/2020 BRADLEY W. ANDERSEN                                                        0.40                148.00 EXCHANGE OF EMAILS WITH BRAD SMITH WITH
                                                                                                                 REGARD TO THE EXPERT, AND FOLLOW-UP WITH
                                                                                                                 ZACH STOUMBOS.
12/29/2020 CURTIS J CHRISTENSEN                                                       0.20                   36.00 TELEPHONE CONFERENCE WITH ATTORNEY
                                                                                                                   REGARDING EXPERT AND UMBRELLA POLICY (.1);
                                                                                                                   E-MAIL ATTORNEYS UMBRELLA POLICY (.1).
12/29/2020 ZACHARY H. STOUMBOS                                                        0.40                140.00 REVIEW AND APPROVE PROPOSED EXPERT.
12/31/2020 BRADLEY W. ANDERSEN                                                        1.00                370.00 TELEPHONE CONFERENCE WITH THE
                                                                                                                 DEFENDANT'S ATTORNEY WITH REGARD TO
                                                                                                                 EXTENDING DEADLINE FOR EXPERT DISCOVERY
                                                                                                                 AND DRAFT AND REVISE A STIPULATED MOTION
                                                                                                                 AND ORDER REGARDING THE SAME.
12/31/2020 CURTIS J CHRISTENSEN                                                       0.40                   72.00 DISCUSSION WITH ATTORNEYS REGARDING
                                                                                                                   APPROACHING DEADLINES AND ADJUSTING SAME;
                                                                                                                   DISCUSSION REGARDING EXPERT FILE.
1/5/2021                CURTIS J CHRISTENSEN                                          1.70                306.00 REVIEW FILE MATERIALS AND EXCHANGE E-MAILS
                                                                                                                 WITH CO-COUNSEL REGARDING FILES TO SEND
                                                                                                                 TO EXPERT (1.1); ASSEMBLE EXPERT FILE (.4);
                                                                                                                 SEND E-MAIL TO EXPERT WITH LINK TO FILES FOR
                                                                                                                 REVIEW (.2).
1/5/2021                CURTIS J CHRISTENSEN                                          0.80                144.00 REVIEW FILE MATERIALS AND BEGIN ASSEMBLING
                                                                                                                 FILE FOR EXPERT REVIEW; E-MAIL BRAD SMITH
                                                                                                                 REGARDING SAME.
1/12/2021               ZACHARY H. STOUMBOS                                           2.00                700.00 PREPARE OUTLINE OF CASE AND ARGUMENTS
                                                                                                                 RELATING TO LIABILITY POLICY AND LOSS OF
                                                                                                                 DECLARATIONS PAGE.
1/20/2021               CURTIS J CHRISTENSEN                                          0.30                   54.00 MULTIPLE COMMUNICATIONS WITH ATTORNEYS
                                                                                                                   REGARDING MEETING WITH EXPERT TO DISCUSS
                                                                                                                   PROGRESS OF REPORT.
1/22/2021               BRADLEY W. ANDERSEN                                           1.30                481.00 LONG TELEPHONE CONFERENCE AND INTERVIEW
                                                                                                                 OF OUR EXPERTS.



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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
1/22/2021               CURTIS J CHRISTENSEN                                          2.20                396.00 TELEPHONE CONFERENCE WITH EXPERT AND
                                                                                                                 ATTORNEYS REGARDING REPORT STATUS AND
                                                                                                                 ITEMS NEEDED TO FINALIZE SAME (1.3); LOCATE
                                                                                                                 MULTIPLE DOCUMENTS TO SEND TO EXPERT (.9).
1/22/2021               NICHOLAS F CODY                                               0.20                   52.00 ATTEND PORTION OF CONFERENCE CALL WITH
                                                                                                                   ATTORNEYS ANDERSEN AND SMITH AND EXPERT
                                                                                                                   INSURANCE WITNESS.
1/26/2021               CURTIS J CHRISTENSEN                                          2.50                450.00 REVIEW FILE TO LOCATE DOCUMENTS FOR
                                                                                                                 EXPERT (1.9); DISCUSSION WITH ATTORNEY
                                                                                                                 REGARDING SAME (.3); E-MAIL EXPERT
                                                                                                                 REGARDING REFERENCE TO DR. ZINSMEISTER
                                                                                                                 REPORT (.3).
1/29/2021               BRADLEY W. ANDERSEN                                           1.00                385.00 BEGIN TO DRAFT FRCP 37(A) LETTER.
1/29/2021               CURTIS J CHRISTENSEN                                          0.50                   92.50 REVIEW PRELIMINARY EXPERT REPORT.
1/29/2021               CURTIS J CHRISTENSEN                                          1.50                277.50 REVISE DISCOVERY LETTER TO OPPOSING
                                                                                                                 COUNSEL (.7); REVIEW PRIVILEGE LOG AND
                                                                                                                 DOCUMENT PRODUCTION (.5); TELEPHONE
                                                                                                                 CONFERENCE WITH ATTORNEY REGARDING SAME
                                                                                                                 (.3).
1/29/2021               CURTIS J CHRISTENSEN                                          0.40                   74.00 DRAFT FRCP 30(B)(6) NOTICE OF DEPOSITION OF
                                                                                                                   STATE FARM.
1/31/2021               BRADLEY W. ANDERSEN                                           0.80                308.00 DRAFT AND REVISE OUR LETTER WITH REGARD
                                                                                                                 TO STATE FARM'S FAILURE TO ADEQUATELY
                                                                                                                 RESPOND TO SETTLEMENT.
2/1/2021                BRADLEY W. ANDERSEN                                           1.80                693.00 REVIEW AND COMMENT ON EXPERT'S REPORT.
2/1/2021                BRADLEY W. ANDERSEN                                           0.70                269.50 DRAFT AND FINALIZE THE LETTER REGARDING
                                                                                                                 ADDITIONAL DISCOVERY WE NEED OPPOSING TO
                                                                                                                 PROVIDE, FRCP 30(B)(6), EXPERT REPORT AND
                                                                                                                 THE STIPULATED PROTECTIVE ORDER.
2/1/2021                BRADLEY W. ANDERSEN                                           0.80                308.00 DRAFT AND REVISE FRCP 30(B)(6) DEPOSITION
                                                                                                                 NOTICE.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
2/1/2021                CURTIS J CHRISTENSEN                                          1.40                259.00 MULTIPLE CONVERSATIONS WITH ATTORNEY
                                                                                                                 REGARDING FRCP 30(B)(6), LETTER TO OPPOSING
                                                                                                                 COUNSEL AND EXPERT REPORT FINALIZATION (.7);
                                                                                                                 FINALIZE LETTER AND ATTACHMENTS AND
                                                                                                                 EXECUTE SERVICE OF SAME (.7).
2/26/2021               CURTIS J CHRISTENSEN                                          0.20                   37.00 CONTACT OPPOSING COUNSEL REGARDING
                                                                                                                   STATUS OF REPLY TO OUR FEBRUARY 1 LETTER
                                                                                                                   AND REGARDING DEPOSITION DATES.
3/17/2021               CURTIS J CHRISTENSEN                                          0.30                   55.50 REVIEW CORRESPONDENCE FROM OPPOSING
                                                                                                                   COUNSEL REGARDING EXPERT REPORT (.2);
                                                                                                                   TELEPHONE CONFERENCE WITH ASSISTANT
                                                                                                                   REGARDING SAME; EXCHANGE E-MAILS WITH CO-
                                                                                                                   COUNSEL REGARDING EXPERT REPORTS (.1).
3/23/2021               CURTIS J CHRISTENSEN                                          0.40                   74.00 DRAFT FIRST SET OF REQUESTS FOR ADMISSION
                                                                                                                   TO DEFENDANT.
3/24/2021               CURTIS J CHRISTENSEN                                          0.20                   37.00 FOLLOW-UP WITH OPPOSING COUNSEL
                                                                                                                   REGARDING RESPONSE TO FEBRUARY
                                                                                                                   DISCOVERY LETTER (.1); E-MAIL CLIENT
                                                                                                                   REGARDING DEPOSITION DATES (.1).
3/30/2021               CURTIS J CHRISTENSEN                                          0.70                129.50 TELEPHONE CONFERENCE WITH ATTORNEY
                                                                                                                 REGARDING DEPOSITIONS AND DISCOVERY
                                                                                                                 STATUS (.4); TELEPHONE CONFERENCE WITH
                                                                                                                 ASSISTANT REGARDING SAME (.2); CONTACT
                                                                                                                 PEGGY FORAKER REGARDING DEPOSITION AND E-
                                                                                                                 MAIL ATTORNEYS REGARDING SAME (.1).
4/5/2021                BRADLEY W. ANDERSEN                                           0.60                231.00 REVIEW AND ANALYZE STATE FARM'S EXPERT
                                                                                                                 WITNESS REPORT.
4/5/2021                BRADLEY W. ANDERSEN                                           0.40                154.00 MEET WITH BRAD AND CURTIS TO PREPARE FOR
                                                                                                                 DISCOVERY MEET AND CONFER.
4/5/2021                CURTIS J CHRISTENSEN                                          1.00                185.00 TELEPHONE CONFERENCE WITH ATTORNEYS
                                                                                                                 REGARDING NEXT STEPS IN CASE.
4/6/2021                BRADLEY W. ANDERSEN                                           2.20                847.00 PREPARE FOR AND CONDUCT THE FRCP 26(I)
                                                                                                                 CONFERENCE WITH OPPOSING COUNSEL,




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
                                                                                                                           SETTING UP DEPOSITIONS, AND DISCUSSING THE
                                                                                                                           EXPERTS REPORTS.
4/6/2021                CURTIS J CHRISTENSEN                                          3.00                555.00 TELEPHONE CONFERENCE WITH OPPOSING
                                                                                                                 COUNSEL REGARDING DISCOVERY ISSUES (2.2);
                                                                                                                 E-MAIL ATTORNEYS REGARDING SUMMARY OF
                                                                                                                 DISCOVERY ISSUES (.4); RESPOND TO OPPOSING
                                                                                                                 COUNSEL REGARDING STIPULATED PROTECTION
                                                                                                                 ORDER (.2); CONTACT CLIENT AND EXPERT
                                                                                                                 WITNESS REGARDING AVAILABILITY FOR
                                                                                                                 DEPOSITIONS (.2).
4/7/2021                CURTIS J CHRISTENSEN                                          0.20                   37.00 DISCUSSION WITH ATTORNEY REGARDING
                                                                                                                   SUPPLEMENTING DOCUMENT PRODUCTION WITH
                                                                                                                   ADDITIONAL INSURANCE INFORMATION FROM
                                                                                                                   CLIENT.
4/15/2021               CURTIS J CHRISTENSEN                                          0.40                   74.00 TELEPHONE CONFERENCE WITH HELLER
                                                                                                                   WEIGENSTEIN REGARDING DOCUMENTS SOUGHT
                                                                                                                   FROM PLAINTIFF'S PERSONAL INJURY CASE.
4/15/2021               CURTIS J CHRISTENSEN                                          1.20                222.00 PREPARE SUPPLEMENTAL DOCUMENT
                                                                                                                 PRODUCTION AND REVIEW SAME (.8); E-MAIL
                                                                                                                 OPPOSING COUNSEL SUPPLEMENTAL
                                                                                                                 PRODUCTION AND FOLLOW-UP REGARDING
                                                                                                                 MULTIPLE DISCOVERY ISSUES (.4).
4/16/2021               CURTIS J CHRISTENSEN                                          0.50                   92.50 TELEPHONE CONFERENCE WITH ELISA SMITH AT
                                                                                                                   HELLER WEIGENSTEIN REGARDING REQUEST FOR
                                                                                                                   FILES (.3); TELEPHONE CONFERENCE WITH CLIENT
                                                                                                                   REGARDING SAME (.1); E-MAIL HELLER
                                                                                                                   WEIGENSTEIN FILE REQUEST (.1).
4/16/2021               CURTIS J CHRISTENSEN                                          0.30                     0.00 REVIEW EXPERT INVOICES AND E-MAIL CLIENT
                                                                                                                    REGARDING SAME.
4/19/2021               CURTIS J CHRISTENSEN                                          1.00                     0.00 REVIEW RECORDS RECEIVED AND E-MAIL TRIAL
                                                                                                                    TEAM REGARDING FINDINGS.
5/5/2021                CURTIS J CHRISTENSEN                                          0.30                   55.50 TELEPHONE CONFERENCE WITH PEGGY FORAKER
                                                                                                                   REGARDING DEPOSITION.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
5/5/2021                CURTIS J CHRISTENSEN                                          0.20                   37.00 REVIEW STATUS OF DEFENDANTS DISCOVERY
                                                                                                                   AND FOLLOW-UP WITH OPPOSING COUNSEL
                                                                                                                   REGARDING SAME.
5/10/2021               CURTIS J CHRISTENSEN                                          0.80                148.00 SEARCH PUBLIC RECORDS TO LOCATE TARA
                                                                                                                 TREJO (.4); CONTACT TARA TREJO AND INTERVIEW
                                                                                                                 HER REGARDING HER KNOWLEDGE OF STATE
                                                                                                                 FARM'S INVESTIGATION (.2); E-MAIL ATTORNEY
                                                                                                                 REGARDING SAME (.2).
5/11/2021               CURTIS J CHRISTENSEN                                          0.20                   37.00 E-MAIL EXPERT REGARDING 1998 ZINSMEISTER
                                                                                                                   OPINION OF CHILD CONDITION.
5/11/2021               CURTIS J CHRISTENSEN                                          0.70                129.50 DRAFT NOTICES OF DEPOSITION (.5); E-MAIL
                                                                                                                 ATTORNEYS AND CLIENT REGARDING
                                                                                                                 DEPOSITIONS AND INTERVIEW OF TARA TREJO
                                                                                                                 (.2).
5/18/2021               BRADLEY W. ANDERSEN                                           0.40                154.00 REVIEW THE COURTS REJECTION OF THE
                                                                                                                 PROTECTION ORDER AND FOLLOW UP
                                                                                                                 CONVERSATION WITH OPPOSING COUNSEL
                                                                                                                 REGARDING SAME.
5/18/2021               CURTIS J CHRISTENSEN                                          1.20                222.00 EXCHANGE MULTIPLE E-MAILS WITH ATTORNEY
                                                                                                                 REGARDING DEPOSITIONS AND PROTECTION
                                                                                                                 ORDER (.4); DRAFT LETTER TO OPPOSING
                                                                                                                 COUNSEL REGARDING DEPOSITIONS AND
                                                                                                                 PROTECTION ORDER (.4); FINALIZE DEPOSITION
                                                                                                                 NOTICES (.2); TELEPHONE CONFERENCE WITH
                                                                                                                 PEGGY FORAKER REGARDING DEPOSITION (.2).
5/21/2021               CURTIS J CHRISTENSEN                                          0.10                   18.50 E-MAIL CLIENT REGARDING DEPOSITIONS.
6/2/2021                CURTIS J CHRISTENSEN                                          0.40                   74.00 DISCUSSION WITH ATTORNEY REGARDING
                                                                                                                   DEPOSITION SCHEDULE IN JUNE AND
                                                                                                                   PREPARATION FOR SAME (.2); CONTACT
                                                                                                                   ATTORNEY FOR TREJO FAMILY, STEPHEN
                                                                                                                   HENDRICKS, REGARDING INTERVIEWING TREJO
                                                                                                                   FAMILY (.2).




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
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                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
6/3/2021                CURTIS J CHRISTENSEN                                          0.30                   55.50 EXCHANGE E-MAILS WITH OPPOSING COUNSEL,
                                                                                                                   ATTORNEYS AND EXPERT REGARDING
                                                                                                                   DEPOSITION AVAILABILITY.
6/3/2021                CURTIS J CHRISTENSEN                                          0.90                166.50 TELEPHONE CONFERENCE WITH PEGGY FORAKER
                                                                                                                 REGARDING DEPOSITION LOGISTICS (.3); E-MAIL
                                                                                                                 PEGGY FORAKER CONFIRMING DETAILS OF
                                                                                                                 DEPOSITION (.2); TELEPHONE CONFERENCE WITH
                                                                                                                 MULTIPLE VIRGINIA COURT REPORTERS
                                                                                                                 REGARDING AVAILABILITY AND DETAILS (.1); E-
                                                                                                                 MAIL FINAL COURT REPORTER ALL DEPOSITION
                                                                                                                 INFORMATION (.1).
6/4/2021                CURTIS J CHRISTENSEN                                          0.40                   74.00 CONTACT COURT REPORTER REGARDING
                                                                                                                   DEPOSITIONS IN JUNE (.2); E-MAIL COURT
                                                                                                                   REPORTER ALL DEPOSITION NOTICES AND
                                                                                                                   INFORMATION FOR ALL PARTIES (.2).
6/4/2021                CURTIS J CHRISTENSEN                                          1.50                277.50 RESEARCH CAROL FUNK LOCATION FOR SERVICE
                                                                                                                 OF DEPOSITION SUBPOENA (.4); EXCHANGE
                                                                                                                 MULTIPLE E-MAILS WITH OPPOSING COUNSEL
                                                                                                                 REGARDING SAME (.4); DRAFT COVER LETTER
                                                                                                                 ENCLOSING SUBPOENA AND NOTICE OF
                                                                                                                 DEPOSITION (.2); DRAFT SUBPOENA FOR
                                                                                                                 DEPOSITION (.2); FOLLOW UP WITH OPPOSING
                                                                                                                 COUNSEL REGARDING STATUS OF
                                                                                                                 SUPPLEMENTAL DOCUMENT PRODUCTION (.3).
6/7/2021                CURTIS J CHRISTENSEN                                          0.20                     0.00 EXCHANGE E-MAILS WITH COURT REPORTER AND
                                                                                                                    UPDATE ZOOM INFORMATION FOR DEPOSITION OF
                                                                                                                    PEGGY FORAKER.
6/8/2021                CURTIS J CHRISTENSEN                                          0.50                   92.50 MULTIPLE COMMUNICATIONS WITH OPPOSING
                                                                                                                   COUNSEL REGARDING DEPOSITIONS AND
                                                                                                                   DISCOVERY (.3); EXCHANGE MULTIPLE
                                                                                                                   COMMUNICATIONS WITH CLIENT REGARDING
                                                                                                                   DEPOSITIONS (.2).
6/8/2021                CURTIS J CHRISTENSEN                                          0.40                     0.00 TELEPHONE CONFERENCE WITH COURT
                                                                                                                    REPORTER REGARDING DEPOSITION
                                                                                                                    CANCELLATIONS (.2); E-MAIL COURT REPORTER




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DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
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                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
                                                                                                                           REGARDING CONFIRMATION OF CANCELLATIONS
                                                                                                                           (.1); E-MAIL CLIENT REGARDING SAME (.1).
6/8/2021                CURTIS J CHRISTENSEN                                          0.20                     0.00 CONTACT PROCESS SERVER REGARDING
                                                                                                                    SERVICE OF SUBPOENA ON CAROL FUNK.
6/10/2021               CURTIS J CHRISTENSEN                                          0.30                   55.50 TELEPHONE CONFERENCE WITH PEGGY FORAKER
                                                                                                                   REGARDING DEPOSITION AND INTERVIEWING
                                                                                                                   TARA TREJO.
6/10/2021               CURTIS J CHRISTENSEN                                          0.30                     0.00 CONTACT PEGGY FORAKER REGARDING
                                                                                                                    INTERVIEW OF TARA TREJO.
6/17/2021               CURTIS J CHRISTENSEN                                          3.00                555.00 REVIEW SUPPLEMENTAL PRODUCTION FROM
                                                                                                                 STATE FARM AND INDEX SAME FOR ATTORNEY
                                                                                                                 REFERENCE DURING DEPOSITIONS.
6/18/2021               BRADLEY W. ANDERSEN                                           2.20                847.00 BEGIN TO PREPARE FOR DEPOSITION OF FUNK BY
                                                                                                                 CONFERRING WITH BRAD SMITH TO GO OVER
                                                                                                                 FACTS TO OBTAIN FROM THE DEPOSITION.
6/18/2021               CURTIS J CHRISTENSEN                                          2.70                499.50 BEGIN PREPARING FOR UPCOMING DEPOSITIONS
                                                                                                                 (2.0); TELEPHONE CONFERENCE WITH ATTORNEYS
                                                                                                                 REGARDING DEPOSITIONS AND THEMES AND
                                                                                                                 THEORIES OF CASE (.7).
6/18/2021               CURTIS J CHRISTENSEN                                          0.20                   37.00 BRIEF DISCUSSION WITH ATTORNEY REGARDING
                                                                                                                   DEPOSITION PREPARATION.
6/19/2021               BRADLEY W. ANDERSEN                                           3.20             1,232.00 CONTINUE TO REVIEW AND COMPILE THE
                                                                                                                DOCUMENTS FOR DEPOSITIONS OF STEWART,
                                                                                                                DALE ANDERSEN, CAROL FUNK, AND PEGGY
                                                                                                                FORAKER.
6/20/2021               BRADLEY W. ANDERSEN                                           4.80             1,848.00 CONTINUE TO REVIEW AND COMPILE DOCUMENTS
                                                                                                                FOR DEPOSITIONS.
6/21/2021               MONICA M RECH                                                 4.00                     0.00 ASSIST ATTORNEY BRAD ANDERSEN WITH SET UP
                                                                                                                    OF ZOOM AND DEPOSITION EXHIBITS USING TRIAL
                                                                                                                    DIRECTOR DURING WITNESS RICH STEWARD'S
                                                                                                                    DEPOSITION.




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consult with your tax preparer to determine the property categorization of your payment(s).Our Tax identification number appears above.”
Terms: All accounts due and payable within 10 days from initial statement date, and are past due thereafter. A 1% monthly service charge (12% per amount) is made on all past due accounts.

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                                                                                                             Vancouver, WA 98666                                www.landerholm.com



STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
6/21/2021               BRADLEY W. ANDERSEN                                           8.20             3,157.00 PREPARE AN OUTLINE FOR TAKING MR.
                                                                                                                STEWART'S DEPOSITION (3.2); TAKE MR.
                                                                                                                STEWART'S DEPOSITION (3.5), TRAVEL TO DALE'S
                                                                                                                HOUSE TO PREPARE HIM FOR HIS DEPOSITION
                                                                                                                (1.5).
6/21/2021               CURTIS J CHRISTENSEN                                          0.40                   74.00 REVIEW DISCOVERY REQUESTS AND LETTERS TO
                                                                                                                   OPPOSING COUNSEL REGARDING INSUFFICIENT
                                                                                                                   DISCOVERY (.2); E-MAIL ATTORNEYS SUMMARY
                                                                                                                   REGARDING SAME (.2).
6/21/2021               CURTIS J CHRISTENSEN                                          2.40                444.00 MEET WITH ATTORNEY TO DISCUSS DEPOSITION
                                                                                                                 EXHIBITS (1.2); PREPARE EXHIBITS FOR USE IN
                                                                                                                 DEPOSITION (.8); MULTIPLE DISCUSSIONS WITH
                                                                                                                 ATTORNEY REGARDING DEPOSITION THEMES AND
                                                                                                                 THEORIES (.2); CONFIRM DEPOSITION OF CAROL
                                                                                                                 FUNK WITH COURT REPORTER (.2).
6/21/2021               MONICA M RECH                                                 1.00                   95.00 ASSIST ATTORNEY BRAD ANDERSEN WITH
                                                                                                                   COPYING AND SORTING DEPOSITION EXHIBITS OF
                                                                                                                   WITNESS PEGGY FORAKER IN ANTICIPATION OF
                                                                                                                   DEPOSITION.
6/21/2021               CURTIS J CHRISTENSEN                                          0.20                     0.00 REVIEW ATTORNEY CALENDAR AND RESPOND TO
                                                                                                                    E-MAILS FROM OPPOSING COUNSEL AND CO-
                                                                                                                    COUNSEL REGARDING DEPOSITIONS.
6/21/2021               CURTIS J CHRISTENSEN                                          0.30                     0.00 EXTRACT DOCUMENTS TO SEND TO CLIENT (.1);
                                                                                                                    SEND CLIENT MULTIPLE E-MAILS REGARDING
                                                                                                                    DEPOSITION PREPARATION (.2).
6/22/2021               BRADLEY W. ANDERSEN                                           0.40                154.00 BEGIN TO DRAFT DEPOSITION SUMMARY.
6/22/2021               BRADLEY W. ANDERSEN                                           2.80             1,078.00 DEFEND DALE ANDERSEN'S DEPOSITION.
6/22/2021               CURTIS J CHRISTENSEN                                          0.20                   37.00 RESPOND TO E-MAIL FROM OPPOSING COUNSEL
                                                                                                                   REGARDING DEPOSITION OF EXPERT.
6/22/2021               CURTIS J CHRISTENSEN                                          0.40                   74.00 DRAFT STIPULATED MOTION TO EXTEND
                                                                                                                   DISCOVERY CUTOFF; DRAFT PROPOSED ORDER
                                                                                                                   FOR SAME.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
6/22/2021               CURTIS J CHRISTENSEN                                          1.70                314.50 MULTIPLE TELEPHONE CONFERENCES WITH
                                                                                                                 ATTORNEY REGARDING CAROL FUNK DEPOSITION
                                                                                                                 (.4); ASSEMBLE EXHIBITS FROM RICH STEWART'S
                                                                                                                 DEPOSITION AND SEND SAME TO COURT
                                                                                                                 REPORTER (.3); DRAFT NEW SUBPOENA AND
                                                                                                                 DEPOSITION NOTICE FOR CAROL FUNK (.3);
                                                                                                                 EXCHANGE MULTIPLE COMMUNICATIONS WITH
                                                                                                                 ATTORNEY REGARDING CLIENT'S PRIOR
                                                                                                                 INSURANCE POLICIES (.4); EXCHANGE MULTIPLE
                                                                                                                 E-MAILS WITH OPPOSING COUNSEL REGARDING
                                                                                                                 SUPPLEMENTAL PRODUCTION (.3).
6/23/2021               CURTIS J CHRISTENSEN                                          0.50                   92.50 DISCUSSION WITH ATTORNEY REGARDING MS.
                                                                                                                   FUNK (.1); DRAFT ACCEPTANCE OF SERVICE FOR
                                                                                                                   SUBPOENA (.3); E-MAIL MS. FUNK REGARDING
                                                                                                                   SAME (.1).
6/23/2021               CURTIS J CHRISTENSEN                                          0.20                   37.00 EXCHANGE E-MAILS WITH EXPERT REGARDING
                                                                                                                   DEPOSITION.
6/23/2021               CURTIS J CHRISTENSEN                                          0.30                   55.50 PREPARE SUPPLEMENTAL PRODUCTION OF
                                                                                                                   RECORDS RECEIVED FROM HELLER WEIGENSTEIN
                                                                                                                   (.2); E-MAIL OPPOSING COUNSEL REGARDING
                                                                                                                   SAME (.1).
6/23/2021               CURTIS J CHRISTENSEN                                          0.70                129.50 TELEPHONE CONFERENCE WITH ATTORNEY
                                                                                                                 REGARDING DEPOSITION EXHIBITS FOR PEGGY
                                                                                                                 FORAKER (.2); PREPARE EXHIBITS FOR PEGGY
                                                                                                                 FORAKER AND COORDINATE WITH CLERK
                                                                                                                 REGARDING SAME FOR DEPOSITION (.5).
6/24/2021               BRADLEY W. ANDERSEN                                           6.00             2,310.00 REVIEW DOCUMENTS FOR DEPOSITION OF PEGGY
                                                                                                                FORAKER.
6/24/2021               CURTIS J CHRISTENSEN                                          0.60                111.00 MULTIPLE CONFERENCE CALLS WITH PEGGY
                                                                                                                 FORAKER REGARDING DEPOSITION AND
                                                                                                                 INTERVIEWING TARA TREJO (.5); E-MAIL PEGGY
                                                                                                                 FORAKER COPIES OF ALL DEPOSITION EXHIBITS
                                                                                                                 (.1).
6/24/2021               CURTIS J CHRISTENSEN                                          0.60                     0.00 MULTIPLE COMMUNICATIONS WITH COURT
                                                                                                                    REPORTER AND VIDEOGRAPHER REGARDING



“Pursuant to regulations effective January 1, 1998, a Payor who makes payment to an Attorney, in the ordinary course of a trade or business, must file an Information Return with the IRS and the Payee reporting such payment. Please
consult with your tax preparer to determine the property categorization of your payment(s).Our Tax identification number appears above.”
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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
                                                                                                                           DEPOSITION DETAILS AND PAYMENT
                                                                                                                           INFORMATION.
6/25/2021               BRADLEY W. ANDERSEN                                           3.00             1,155.00 TRAVEL TO PEGGY FORAKERS HOUSE TO
                                                                                                                PREPARE HER FOR HER DEPOSITION.
6/25/2021               BRADLEY W. ANDERSEN                                           3.20             1,232.00 TAKE THE DEPOSITION OF PEGGY FORKER AND
                                                                                                                RETURN TO THE HOTEL.
6/25/2021               CURTIS J CHRISTENSEN                                          0.30                   55.50 MULTIPLE CONFERENCE CALLS WITH ATTORNEY
                                                                                                                   AND COURT REPORTER REGARDING DEPOSITION
                                                                                                                   OF PEGGY FORAKER.
6/25/2021               CURTIS J CHRISTENSEN                                          0.20                   37.00 TELEPHONE CONFERENCE WITH ATTORNEY
                                                                                                                   REGARDING DEPOSITION OF FORAKER (.1);
                                                                                                                   CONTACT VIDEOGRAPHER REGARDING SAME (.1).
6/25/2021               CURTIS J CHRISTENSEN                                          0.30                     0.00 E-MAIL OPPOSING COUNSEL AND COURT
                                                                                                                    REPORTER EXHIBITS FOR PEGGY FORAKER
                                                                                                                    DEPOSITION.
6/26/2021               BRADLEY W. ANDERSEN                                           6.00             2,310.00 CONTINUE SUMMARIZING DEPOSITIONS.
6/28/2021               CURTIS J CHRISTENSEN                                          0.30                     0.00 DISCUSSION WITH ATTORNEY REGARDING
                                                                                                                    STIPULATION (.2); E-MAIL OPPOSING COUNSEL
                                                                                                                    REGARDING SAME (.1).
6/29/2021               CURTIS J CHRISTENSEN                                          0.10                     0.00 FOLLOW-UP WITH CAROL FUNK REGARDING
                                                                                                                    ACCEPTANCE OF SERVICE OF SUBPOENA FOR
                                                                                                                    DEPOSITION.
6/30/2021               CURTIS J CHRISTENSEN                                          0.50                   92.50 MEET WITH ATTORNEY TO DISCUSS CASE
                                                                                                                   DEADLINES AND E-MAILS EXCHANGED WITH
                                                                                                                   OPPOSING COUNSEL REGARDING SAME (.2);
                                                                                                                   REVISE DRAFT STIPULATION TO EXTEND DATES
                                                                                                                   (.2); E-MAIL OPPOSING COUNSEL REGARDING
                                                                                                                   SAME (.1).
7/3/2021                BRADLEY W. ANDERSEN                                           0.40                154.00 REVIEW AND REVISE THE STIPULATED MOTION TO
                                                                                                                 EXTEND THE DISCOVERY DEADLINE SO THAT WE
                                                                                                                 CAN TAKE CAROL FUNK'S DEPOSITION.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
7/3/2021                BRADLEY W. ANDERSEN                                           0.50                192.50 MEET WITH ZACK REGARDING THE RESULTS OF
                                                                                                                 LAST WEEKS DEPOSITION, INCLUDING THE
                                                                                                                 PERPETUATION TESTIMONY OF MS. FORAKER.
7/6/2021                CURTIS J CHRISTENSEN                                          0.40                     0.00 SAVE SUPPLEMENTAL PRODUCTION FROM STATE
                                                                                                                    FARM AND REVIEW SAME.
7/6/2021                CURTIS J CHRISTENSEN                                          0.20                     0.00 SUBMIT CHECK REQUEST FOR CAROL FUNK
                                                                                                                    WITNESS FEE.
7/8/2021                BRADLEY W. ANDERSEN                                           1.80                693.00 REVIEW MS. FUNK'S PERSONNEL FILE TO MARK
                                                                                                                 DOCUMENTS NEEDED FOR HER DEPOSITION AND
                                                                                                                 BEGIN TO MARK OTHER EXHIBITS FOR THE
                                                                                                                 DEPOSITION.
7/8/2021                CURTIS J CHRISTENSEN                                          4.00                740.00 MULTIPLE COMMUNICATIONS WITH COURT
                                                                                                                 REPORTERS REGARDING EMERGENCY
                                                                                                                 RESCHEDULING (.4); MEET WITH ATTORNEY TO
                                                                                                                 DISCUSS EXHIBITS FOR CAROL FUNK DEPOSITION
                                                                                                                 (1.1); PREPARE EXHIBITS FROM PRIOR
                                                                                                                 DEPOSITIONS INTO BINDER FOR ATTORNEY,
                                                                                                                 WITNESS AND OPPOSING COUNSEL (1.2);
                                                                                                                 PREPARE ADDITIONAL EXHIBITS FOR CAROL FUNK
                                                                                                                 (1.2); BRIEF TELEPHONE CONFERENCE WITH
                                                                                                                 CLIENT REGARDING DEPOSITION (.1);
7/9/2021                BRADLEY W. ANDERSEN                                           8.00             3,080.00 TRAVEL TO TACOMA TO TAKE MS. FUNK'S
                                                                                                                DEPOSITION AND RETURN TO OFFICE.
7/9/2021                CURTIS J CHRISTENSEN                                          0.20                   37.00 DISCUSSION WITH ATTORNEY REGARDING
                                                                                                                   WITNESS TESTIMONY DURING DEPOSITION.
7/9/2021                CURTIS J CHRISTENSEN                                          0.30                   55.50 DISCUSSION WITH ATTORNEY AND COURT
                                                                                                                   REPORTER REGARDING EXHIBITS (.2); E-MAIL
                                                                                                                   COURT REPORTER REGARDING SAME (.1).
7/12/2021               CURTIS J CHRISTENSEN                                          0.40                   74.00 CONTACT COURT REPORTERS REGARDING
                                                                                                                   TRANSCRIPT STATUS (.2); EXCHANGE E-MAILS
                                                                                                                   WITH ATTORNEYS REGARDING SAME (.1);
                                                                                                                   DISCUSSION WITH ATTORNEY REGARDING
                                                                                                                   EXPERT REVIEW OF TRANSCRIPTS (.1).




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
7/13/2021               CURTIS J CHRISTENSEN                                          0.30                     0.00 DOWNLOAD AND SAVE DEPOSITION TRANSCRIPT
                                                                                                                    AND EXHIBITS FOR PEGGY FORAKER RECEIVED
                                                                                                                    FROM COURT REPORTER (.2); GENERATE AND
                                                                                                                    SEND LINK TO SAME TO CLIENT AND CO-COUNSEL
                                                                                                                    (.1).
7/15/2021               CURTIS J CHRISTENSEN                                          0.30                     0.00 DOWNLOAD AND SAVE DEPOSITION TRANSCRIPT
                                                                                                                    AND EXHIBITS FOR SAME FROM COURT
                                                                                                                    REPORTER; E-MAIL CO-COUNSEL AND CLIENT
                                                                                                                    REGARDING SAME.
7/22/2021               CURTIS J CHRISTENSEN                                          0.20                   37.00 MULTIPLE COMMUNICATIONS WITH CO-COUNSEL
                                                                                                                   REGARDING DEPOSITIONS.
7/26/2021               CURTIS J CHRISTENSEN                                          0.50                   92.50 REVIEW FILES FOR DOCUMENTS REQUESTED BY
                                                                                                                   ATTORNEY BRAD SMITH (.3); E-MAIL BRAD SMITH
                                                                                                                   REGARDING DEPOSITIONS (.2).
7/28/2021               CURTIS J CHRISTENSEN                                          0.20                   37.00 EXCHANGE MULTIPLE E-MAILS WITH CO-COUNSEL
                                                                                                                   REGARDING DEPOSITIONS.
7/31/2021               BRADLEY W. ANDERSEN                                           0.50                192.50 REVIEW AND RESPOND TO E-MAILS FROM BRAD
                                                                                                                 SMITH WITH REGARD TO HIS DEPOSITION OF THE
                                                                                                                 INSURANCE COMPANIES EXPERT.
8/2/2021                CURTIS J CHRISTENSEN                                          0.20                   37.00 EXCHANGE E-MAILS WITH CO-COUNSEL
                                                                                                                   REGARDING DEPOSITION OF OLIE JOLSTAD.
8/9/2021                CURTIS J CHRISTENSEN                                          0.30                   55.50 REVISE 30(B)(6) DEPOSITION NOTICE FOR STATE
                                                                                                                   FARM AND SERVE SAME ON OPPOSING COUNSEL
                                                                                                                   (.2); E-MAIL CO-COUNSEL REGARDING COURT
                                                                                                                   REPORTER (.1).
8/9/2021                CURTIS J CHRISTENSEN                                          0.30                   55.50 EXCHANGE MULTIPLE E-MAILS WITH CO-COUNSEL
                                                                                                                   AND THIRD PARTY VENDORS REGARDING
                                                                                                                   DEPOSITION (.2); E-MAIL CLIENT REGARDING SAME
                                                                                                                   (.1).
8/11/2021               CURTIS J CHRISTENSEN                                          0.20                     0.00 REVIEW SUPPLEMENTAL DOCUMENT
                                                                                                                    PRODUCTION FROM STATE FARM.
8/16/2021               CURTIS J CHRISTENSEN                                          0.30                   55.50 DISCUSSION WITH ATTORNEY REGARDING
                                                                                                                   DEPOSITIONS AND DISCOVERY CUTOFF (.1);



“Pursuant to regulations effective January 1, 1998, a Payor who makes payment to an Attorney, in the ordinary course of a trade or business, must file an Information Return with the IRS and the Payee reporting such payment. Please
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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
                                                                                                                           AMEND DEPOSITION NOTICE FOR FRCP 30(B)(6)
                                                                                                                           (.2).
8/23/2021               BRADLEY W. ANDERSEN                                           0.80                308.00 REVIEW NEW DISCOVERY DOCUMENTS PROVIDED
                                                                                                                 BY STATE FARM (.6), AND TELEPHONE
                                                                                                                 CONFERENCE WITH BRAD SMITH REGARDING THE
                                                                                                                 SAME (.2).
8/23/2021               CURTIS J CHRISTENSEN                                          0.60                111.00 TELEPHONE CONFERENCE WITH ATTORNEYS
                                                                                                                 REGARDING SUPPLEMENTAL DOCUMENTS FROM
                                                                                                                 OPPOSING COUNSEL.
8/30/2021               BRADLEY W. ANDERSEN                                           1.00                385.00 REVIEW THE RECENT DISCOVERY MATERIALS
                                                                                                                 PROVIDED BY THE INSURANCE COMPANY (.6), AND
                                                                                                                 TELEPHONE CONFERENCE AND EXCHANGE OF
                                                                                                                 EMAILS WITH BRAD SMITH REGARDING THE SAME
                                                                                                                 (.4).
9/8/2021                CURTIS J CHRISTENSEN                                          0.30                     0.00 DOWNLOAD AND SAVE SUPPLEMENTAL
                                                                                                                    PRODUCTION FROM STATE FARM.
9/9/2021                BRADLEY W. ANDERSEN                                           1.10                423.50 REVIEW THE MOST RECENT DISCOVERY
                                                                                                                 RESPONSES (.5); LONG TELEPHONE CONFERENCE
                                                                                                                 WITH BRAD WITH REGARD TO HIS VIEW OF THE
                                                                                                                 CASE AND DISCUSS WITH BRAD SETTLEMENT
                                                                                                                 STRATEGIES (FOLLOW UP WITH ATTORNEY
                                                                                                                 STOUMBOS REGARDING THE SAME) (.6).
9/9/2021                CURTIS J CHRISTENSEN                                          0.50                   92.50 TELEPHONE CONFERENCE WITH ATTORNEYS
                                                                                                                   REGARDING STRATEGY (.3); EXCHANGE MULTIPLE
                                                                                                                   E-MAILS WITH CO-COUNSEL (.2).
10/19/2021 CURTIS J CHRISTENSEN                                                       0.30                   55.50 PREPARE AMENDED NOTICE OF DEPOSITION OF
                                                                                                                   FRCP 30(B)(6) DESIGNEE OF STATE FARM.
10/25/2021 CURTIS J CHRISTENSEN                                                       0.10                     0.00 EXCHANGE E-MAILS WITH TEAM REGARDING
                                                                                                                    INVOICE FOR EXPERT FEES.
11/4/2021               PRECIOUS M MILLER                                             0.30                     0.00 SAVE AND REVIEW DEPOSITION AND EXHIBITS OF
                                                                                                                    STEVEN MCALISTER.
11/9/2021               BRADLEY W. ANDERSEN                                           0.70                269.50 REVIEW AND RESPOND TO BRAD SMITHS EMAIL
                                                                                                                 REGARD TO NEXT STEPS



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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
11/9/2021               BRADLEY W. ANDERSEN                                           0.50                192.50 REVIEW THE NEW DISCOVERY DOCUMENTS THAT
                                                                                                                 WERE PRODUCED BY STATE FARM.
11/9/2021               BRADLEY W. ANDERSEN                                           0.30                115.50 TELEPHONE CONFERENCE WITH DALE
11/9/2021               BRADLEY W. ANDERSEN                                           1.20                462.00 REVIEW AND SUMMARIZE THE DEPOSITION OF
                                                                                                                 MCALISTER
11/10/2021 BRADLEY W. ANDERSEN                                                        0.90                346.50 LONG TELEPHONE CONFERENCE WITH BRAD
                                                                                                                 SMITH TO REVIEW THE RESULTS OF HIS
                                                                                                                 DEPOSITION RESULTS OF MCALISTER, THE NEW
                                                                                                                 DOCUMENTS PRODUCED BY STATE FARM,
                                                                                                                 SUMMARY JUDGMENT AND SETTLEMENT
                                                                                                                 STRATEGIES.
11/10/2021 BRADLEY W. ANDERSEN                                                        0.50                192.50 BEGIN TO DRAFT AND REVISE SETTLEMENT
                                                                                                                 OFFER FOR BRAD'S REVIEW
11/10/2021 BRADLEY W. ANDERSEN                                                        1.10                     0.00 ANALYZE WHETHER WE SHOULD PROCEED WITH
                                                                                                                    A MOTION FOR SUMMARY JUDGMENT, INCLUDING
                                                                                                                    A REVIEW OF THE 2017 WASHINGTON SUPREME
                                                                                                                    COURT DECISION ANALYZING IFCA.
11/19/2021 ZACHARY H. STOUMBOS                                                        0.20                   70.00 REVIEW AND COMMENT ON PROPOSED
                                                                                                                   SETTLEMENT LETTER.
12/3/2021               BRADLEY W. ANDERSEN                                           1.20                462.00 REVIEW AND REVISE SETTLEMENT LETTER.
12/8/2021               ZACHARY H. STOUMBOS                                           0.30                105.00 REVIEW SETTLEMENT LETTER AND DISCUSS
                                                                                                                 SAME WITH DALE.
12/29/2021 BRADLEY W. ANDERSEN                                                        0.30                115.50 REVIEW COURT RULES ON STATUS CONFERENCE.
12/29/2021 BRADLEY W. ANDERSEN                                                        0.50                192.50 TELEPHONE CONFERENCE WITH BRAD SMITH
                                                                                                                 WITH REGARD TO POTENTIAL MEDIATORS AND
                                                                                                                 MEDIATION STRATEGIES.
12/29/2021 BRADLEY W. ANDERSEN                                                        0.80                308.00 JUDICIAL STATUS CONFERENCE WITH DAN SYHRE
                                                                                                                 AND BRAD SMITH WITH REGARD TO JOINT STATUS
                                                                                                                 REPORT.
12/29/2021 PRECIOUS M MILLER                                                          1.00                150.00 CONFERENCE WITH ATTORNEY ANDERSEN, SMITH
                                                                                                                 AND SHYRE RE UPCOMING CASE STATES UPDATE.




“Pursuant to regulations effective January 1, 1998, a Payor who makes payment to an Attorney, in the ordinary course of a trade or business, must file an Information Return with the IRS and the Payee reporting such payment. Please
consult with your tax preparer to determine the property categorization of your payment(s).Our Tax identification number appears above.”
Terms: All accounts due and payable within 10 days from initial statement date, and are past due thereafter. A 1% monthly service charge (12% per amount) is made on all past due accounts.

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                                                                                                             805 Broadway Street                                T: (360) 696-3312
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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
12/30/2021 BRADLEY W. ANDERSEN                                                        0.80                308.00 DRAFT AND REVISE JOINT STATUS REPORT AND
                                                                                                                 DISCOVERY PLAN.
1/4/2022                BRADLEY W. ANDERSEN                                           0.20                   81.00 EXCHANGE OF EMAILS WITH BRAD SMITH
                                                                                                                   REGARDING THE MEDIATION, AS WELL AS TO
                                                                                                                   REVIEW THE POTENTIAL MEDIATOR.
1/4/2022                BRADLEY W. ANDERSEN                                           0.30                121.50 LONG TELEPHONE CONFERENCE WITH DAN
                                                                                                                 SYHRE WITH REGARD TO OUR STATUS REPORT
                                                                                                                 AND TO GET HIS AVAILABLE DATES FOR TRIAL
                                                                                                                 AND MEDIATION.
1/4/2022                BRADLEY W. ANDERSEN                                           0.60                243.00 MAKE REVISION TO THE STATUS REPORT AND
                                                                                                                 EMAIL THE DRAFT TO THE OTHER SIDE SO THAT
                                                                                                                 WE CAN MAKE FINAL CHANGES AND SUBMIT TO
                                                                                                                 THE COURT.
1/4/2022                PRECIOUS M MILLER                                             0.50                   75.00 CONFER WITH ATTORNEY ANDERSEN, SMITH AND
                                                                                                                   SHYRE RE JOINT STATUS REPORT.
2/17/2022               BRADLEY W. ANDERSEN                                           0.40                162.00 ENGAGE THE MEDIATOR WITH REGARD TO THE
                                                                                                                 MEDIATION AGREEMENT AND FORWARD TO DALE
                                                                                                                 FOR HIS SIGNATURE AND FOLLOW-UP WITH THE
                                                                                                                 MEDIATOR AND WITH BRAD AND ZACH WITH
                                                                                                                 REGARD TO WHO'S ATTENDING.
2/18/2022               BRADLEY W. ANDERSEN                                           1.80                729.00 REVIEW AND REVISE MEDIATION LETTER.
2/22/2022               BRADLEY W. ANDERSEN                                           0.60                243.00 MEET WITH ATTORNEY STOUMBOS TO
                                                                                                                 CALCULATE ALL LEGAL FEES AND COSTS, AND
                                                                                                                 DIRECT PARALEGAL AND STAFF WHERE TO
                                                                                                                 OBTAIN RELEVANT INFORMATION.
2/22/2022               BRADLEY W. ANDERSEN                                           0.40                162.00 RESEARCH AVAILABILITY OF EMOTIONAL
                                                                                                                 DISTRESS DAMAGES UNDER WASHINGTON LAW.
2/22/2022               ZACHARY H. STOUMBOS                                           0.60                210.00 REVIEW MEDIATION STATEMENT AND PREPARE
                                                                                                                 FOR MEDIATION.
3/8/2022                BRADLEY W. ANDERSEN                                           0.50                202.50 ANALYZE THE FEDERAL LOCAL COURT RULES AND
                                                                                                                 PREVIOUS ORDER WITH REGARD TO MEDIATION
                                                                                                                 (.3); EMAIL TO DAN SYHRE AND BRAD SMITH
                                                                                                                 REGARDING SAME (.2).



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consult with your tax preparer to determine the property categorization of your payment(s).Our Tax identification number appears above.”
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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
3/30/2022               BRADLEY W. ANDERSEN                                           0.40                162.00 REVIEW THE TRANSCRIPT OF CLIENT'S
                                                                                                                 DEPOSITIONS WITH REGARD TO EMOTIONAL
                                                                                                                 DISTRESS AND ANALYSIS WITH REGARD TO SAME.
3/30/2022               BRADLEY W. ANDERSEN                                           0.40                162.00 REVIEW AND REVISE TO E-MAIL FROM STATE
                                                                                                                 FARM'S ATTORNEY WITH REGARD TO UPCOMING
                                                                                                                 MEDIATIONAND FUTURE MOTION TO AMEND
                                                                                                                 COMPLAINT.
3/30/2022               BRADLEY W. ANDERSEN                                           0.40                162.00 REVIEW AND RESPOND TO BRAD SMITH'S E-MAIL
                                                                                                                 REGARDING SETTLEMENT DISCUSSIONS WITH
                                                                                                                 STATE FARM.
3/31/2022               NICHOLAS F CODY                                               0.30                   85.50 RESEARCH WASHINGTON LAW ON WAIVER AND
                                                                                                                   REVOCATION OF WAIVER (.2); TELEPHONE CALL
                                                                                                                   WITH ATTORNEY ANDERSEN REGARDING SAME
                                                                                                                   (.1).
4/11/2022               ZACHARY H. STOUMBOS                                           0.50                175.00 PREPARE FOR MEDIATION.
4/13/2022               BRADLEY W. ANDERSEN                                           1.40                567.00 LONG MEETING WITH BRAD AND ZACH TO
                                                                                                                 PREPARE FOR MEDIATION.
4/13/2022               BRADLEY W. ANDERSEN                                           0.80                324.00 PROVIDE FURTHER ANALYSIS FOR BRAD AND
                                                                                                                 ZACH TO USE IN TOMORROW'S DEPOSITION,
                                                                                                                 INCLUDING PROVIDING ZACH WITH VARIOUS
                                                                                                                 EXHIBITS AND DOCUMENTS.
4/13/2022               BRADLEY W. ANDERSEN                                           0.60                243.00 REVIEW MEDIATION SUBMITTAL IN PREPARATION
                                                                                                                 FOR MEETING WITH BRAD SMITH AND ZACH.
4/13/2022               PRECIOUS M MILLER                                             0.40                   64.00 DOWNLOAD ANDERSON PRODUCTION 241-321
                                                                                                                   COMBINE AND E-MAIL TO BRAD SMITH FOR
                                                                                                                   MEDIATION PREPARATION.
4/13/2022               ZACHARY H. STOUMBOS                                           2.20                770.00 STRATEGY AND PREPARATION FOR MEDIATION.
4/14/2022               PRECIOUS M MILLER                                             0.20                     0.00 SAVE ELECTRONIC VERSIONS OF CAROL FUNK
                                                                                                                    DEPOSITION AND EXHIBITS TO CLIENT FILE.
4/14/2022               PRECIOUS M MILLER                                             0.20                     0.00 SET UP CONFERENCE ROOM FOR MEDIATION AND
                                                                                                                    CONFER WITH LEGAL ASSISTANT REGARDING
                                                                                                                    MEDIATION SCHEDULE.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
4/14/2022               CURTIS J CHRISTENSEN                                          0.20                   37.00 WORK ON SCHEDULING DEPOSITIONS.
4/14/2022               ZACHARY H. STOUMBOS                                           5.50             1,925.00 MEDIATION.
4/20/2022               BRADLEY W. ANDERSEN                                           0.40                     0.00 REVIEW SCHEDULING ORDER WITH REGARD TO
                                                                                                                    NEXT STEPS ON FILING A MOTION FOR SUMMARY
                                                                                                                    JUDGMENT.
4/20/2022               BRADLEY W. ANDERSEN                                           0.40                     0.00 PROVIDE BRAD SMITH WITH MY COMMENTS ON
                                                                                                                    THE PROPOSED LETTER TO THE MEDIATOR AND
                                                                                                                    MOTION TO AMEND COMPLAINT.
4/21/2022               NICHOLAS F CODY                                               0.80                228.00 RESEARCH AND ANALYZE PLEADING SPECIFICITY
                                                                                                                 FOR EMOTIONAL DISTRESS DAMAGES (.6); DRAFT
                                                                                                                 EMAIL TO ATTORNEYS ANDERSEN AND SMITH
                                                                                                                 SUMMARIZING SAME (.2).
4/21/2022               ZACHARY H. STOUMBOS                                           0.20                   70.00 COMMENTS REGARDING NEW CASE AND
                                                                                                                   POTENTIAL TO RECOVER EMOTIONAL DISTRESS
                                                                                                                   DAMAGES.
4/25/2022               BRADLEY W. ANDERSEN                                           0.40                162.00 CONFER WITH BRAD SMITH AND NICK ON OUR
                                                                                                                 STRATEGIES FOR FILING A MOTION TO AMEND
                                                                                                                 COMPLAINT.
4/25/2022               NICHOLAS F CODY                                               3.10                541.50 CONFERENCE CALL WITH ATTORNEYS ANDERSEN
                                                                                                                 AND SMITH REGARDING MOTIONS FOR SUMMARY
                                                                                                                 JUDGMENT AND TO AMEND PLEADINGS [1.2];
                                                                                                                 BEGIN DRAFTING MOTION TO AMEND COMPLAINT
                                                                                                                 [1.9].
4/25/2022               BRADLEY W. ANDERSEN                                           0.40                     0.00 ANALYZE STATE FARM'S ANTICIPATED CROSS
                                                                                                                    MOTION FOR SUMMARY JUDGMENT ON OUR IFCA
                                                                                                                    CLAIMS AND STRATEGIZE RESPONSE TO SAME.
4/25/2022               BRADLEY W. ANDERSEN                                           1.20                     0.00 CONFER WITH BRAD AND NICK ON OUR MOTION
                                                                                                                    FOR SUMMARY JUDGMENT.
4/26/2022               NICHOLAS F CODY                                               2.10                598.50 CONTINUE DRAFTING MOTION TO AMEND
                                                                                                                 COMPLAINT.
4/27/2022               NICHOLAS F CODY                                               1.30                370.50 REVIEW AND REVISE MOTION TO AMEND
                                                                                                                 COMPLAINT AND DRAFT FIRST AMENDED




“Pursuant to regulations effective January 1, 1998, a Payor who makes payment to an Attorney, in the ordinary course of a trade or business, must file an Information Return with the IRS and the Payee reporting such payment. Please
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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
                                                                                                                           COMPLAINT (1.2); SEND TO ATTORNEY ANDERSEN
                                                                                                                           FOR REVIEW (.1).
4/27/2022               NICHOLAS F CODY                                               0.10                   28.50 TELEPHONE CALL WITH ATTORNEY ANDERSEN
                                                                                                                   REGARDING MOTION TO AMEND COMPLAINT.
4/29/2022               BRADLEY W. ANDERSEN                                           1.80                729.00 DRAFT AND REVISE MY DECLARATION IN
                                                                                                                 SUPPORT OF MOTION TO AMEND.
4/29/2022               BRADLEY W. ANDERSEN                                           0.50                202.50 FINALIZE DECLARATION, MOTION TO AMEND, AND
                                                                                                                 THE AMENDED COMPLAINT.
4/29/2022               BRADLEY W. ANDERSEN                                           1.10                445.50 REVIEW AND REVISE MOTION TO AMEND
                                                                                                                 COMPLAINT TO INCLUDE NON-ECONOMIC
                                                                                                                 DAMAGES.
4/29/2022               NICHOLAS F CODY                                               0.30                   85.50 DRAFT PROPOSED ORDER ON MOTION TO AMEND
                                                                                                                   COMPLAINT.
4/29/2022               NICHOLAS F CODY                                               0.50                142.50 TELEPHONE CALL WITH ATTORNEY SMITH
                                                                                                                 REGARDING EDITS TO MOTION TO AMEND
                                                                                                                 COMPLAINT.
4/29/2022               PRECIOUS M MILLER                                             2.50                400.00 WORK WITH ATTORNEY ANDERSEN TO FINALIZE
                                                                                                                 ANDERSEN DECLARATION IN SUPPORT OF
                                                                                                                 MOTION TO AMEND AND ADD EXHIBITS TO
                                                                                                                 DECLARATION.
5/16/2022               NICHOLAS F CODY                                               0.30                   85.50 BRIEF REVIEW OF RESPONSE TO MOTION TO
                                                                                                                   AMEND COMPLAINT (.2); TELEPHONE CALL WITH
                                                                                                                   ATTORNEY ANDERSEN REGARDING SAME (.1).
5/20/2022               BRADLEY W. ANDERSEN                                           0.80                324.00 REVIEW AND ANALYZE THE STATE FARMS
                                                                                                                 RESPONSE TO OUR MOTION TO AMEND THE
                                                                                                                 COMPLAINT.
5/20/2022               BRADLEY W. ANDERSEN                                           1.20                486.00 RESEARCH "GOOD CAUSE" STANDARD UNDER
                                                                                                                 FRCP 16.
5/20/2022               BRADLEY W. ANDERSEN                                           0.40                162.00 RESEARCH REGARDING SPECIFICITY OF CLAIM
                                                                                                                 FOR DAMAGES.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
5/20/2022               BRADLEY W. ANDERSEN                                           4.20             1,701.00 DRAFT AND REVISE REPLY IN SUPPORT OF OUR
                                                                                                                MOTION TO AMEND THE COMPLAINT.
5/20/2022               NICHOLAS F CODY                                               2.10                598.50 REVIEW AND REVISE REPLY IN SUPPORT OF
                                                                                                                 MOTION TO AMEND COMPLAINT.
5/20/2022               NICHOLAS F CODY                                               0.40                114.00 MULTIPLE TELEPHONE CALLS WITH ATTORNEY
                                                                                                                 ANDERSEN REGARDING MOTION TO AMEND
                                                                                                                 COMPLAINT.
5/26/2022               PRECIOUS M MILLER                                             0.80                     0.00 REVIEW PEGGY FORAKER DEPOSITION AND
                                                                                                                    EXTRACT EXCERPTS FOR ATTORNEY ANDERSEN
                                                                                                                    TO REVIEW FOR MOTION FOR SUMMARY
                                                                                                                    JUDGMENT.
5/26/2022               CURTIS J CHRISTENSEN                                          0.10                   18.50 DISCUSSION WITH PARALEGAL REGARDING
                                                                                                                   DEPOSITIONS.
5/26/2022               BRADLEY W. ANDERSEN                                           2.90                     0.00 REVIEW AND REVISE MOTION FOR PARTIAL
                                                                                                                    SUMMARY JUDGMENT.
5/27/2022               BRADLEY W. ANDERSEN                                           1.20                     0.00 LONG TELEPHONE CONFERENCE WITH BRAD
                                                                                                                    SMITH REGARDING MOTION FOR PARTIAL
                                                                                                                    SUMMARY JUDGMENT.
5/30/2022               BRADLEY W. ANDERSEN                                           0.40                162.00 RESEARCH REGARDING INSURER'S LEGAL DUTIES
                                                                                                                 TO NOTIFY INSURED OF COVERAGE ISSUES.
5/30/2022               BRADLEY W. ANDERSEN                                           4.20                     0.00 CONTINUE TO REVIEW AND REVISE OUR MOTION
                                                                                                                    FOR PARTIAL SUMMARY JUDGMENT.
5/30/2022               BRADLEY W. ANDERSEN                                           1.20                     0.00 RESEARCH REGARDING SUMMARY JUDGMENT ON
                                                                                                                    BAD FAITH LITIGATION.
5/30/2022               BRADLEY W. ANDERSEN                                           0.40                     0.00 RESEARCH INSURER'S DUTIES TO INVESTIGATE
                                                                                                                    OTHER INSURANCE POLICIES.
5/30/2022               BRADLEY W. ANDERSEN                                           0.60                     0.00 RESEARCH REGARDING CORPORATE
                                                                                                                    ADMISSIONS.
5/31/2022               AMANDA P BEATSON                                              0.20                     0.00 INSERT EXHIBITS INTO MOTION FOR SUMMARY
                                                                                                                    JUDGMENT.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
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                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
5/31/2022               BRADLEY W. ANDERSEN                                           0.00                     0.00 DRAFT AND REVISE STATEMENT OF UNDISPUTED
                                                                                                                    FACTS.
5/31/2022               NICHOLAS F CODY                                               4.90                     0.00 REVIEW AND REVISE MOTION FOR SUMMARY
                                                                                                                    JUDGMENT.
5/31/2022               BRADLEY W. ANDERSEN                                           1.50                     0.00 DRAFT AND REVISE DECLARATION TO ATTACH
                                                                                                                    EXHIBITS A-P TO SUPPORT OUR MOTIONS FOR
                                                                                                                    SUMMARY JUDGMENT.
5/31/2022               BRADLEY W. ANDERSEN                                           1.20                     0.00 REVIEW THE VARIOUS DEPOSITIONS TO OBTAIN
                                                                                                                    EXCERPTS FROM THE DEPOSITION OF FORAKER
                                                                                                                    AND OTHERS TO ATTACH TO OUR DECLARATION.
6/1/2022                NICHOLAS F CODY                                               1.20                     0.00 REVIEW AND ANALYZE STATE FARM'S MOTION
                                                                                                                    FOR SUMMARY JUDGMENT AND CASE LAW
                                                                                                                    REGARDING INSURANCE FAIR CONDUCT ACT.
6/1/2022                BRADLEY W. ANDERSEN                                           0.80                     0.00 REVIEW AND ANALYZE STATE FARMS MOTION FOR
                                                                                                                    SUMMARY JUDGMENT.
6/2/2022                BRADLEY W. ANDERSEN                                           0.50                     0.00 TELEPHONE CONFERENCE WITH BRAD SMITH
                                                                                                                    REGARDING STATE FARM'S MOTION FOR
                                                                                                                    SUMMARY JUDGMENT.
6/8/2022                BRADLEY W. ANDERSEN                                           0.70                283.50 REVIEW STATE FARM'S CONFESSION OF
                                                                                                                 JUDGMENT AND RESEARCH FEDERAL RULES OF
                                                                                                                 CIVIL PROCEDURE 68.
6/8/2022                NICHOLAS F CODY                                               0.90                256.50 RESEARCH REGARDING RULE 68 OFFER OF
                                                                                                                 JUDGMENT.
6/8/2022                NICHOLAS F CODY                                               0.30                   85.50 TELEPHONE CALL WITH ATTORNEYS ANDERSEN
                                                                                                                   AND SMITH REGARDING OFFER OF JUDGMENT.
6/9/2022                NICHOLAS F CODY                                               0.80                228.00 CONTINUE RESEARCHING RULE 68 OFFERS OF
                                                                                                                 JUDGMENT.
6/10/2022               NICHOLAS F CODY                                               4.30             1,225.50 COMPLETE RESEARCH REGARDING RULE 68
                                                                                                                OFFERS OF JUDGMENT (3.1); SUMMARIZE
                                                                                                                CONCLUSIONS AND DRAFT MEMO TO ATTORNEYS
                                                                                                                ANDERSEN, SMITH, AND STOUMBOS (1.2).




“Pursuant to regulations effective January 1, 1998, a Payor who makes payment to an Attorney, in the ordinary course of a trade or business, must file an Information Return with the IRS and the Payee reporting such payment. Please
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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
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DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
6/13/2022               NICHOLAS F CODY                                               0.50                142.50 REVIEW ORDER ON MOTION TO AMEND; REVISE
                                                                                                                 FIRST AMENDED COMPLAINT AND SEND TO
                                                                                                                 ATTORNEY ANDERSEN FOR REVIEW.
6/15/2022               NICHOLAS F CODY                                               1.40                399.00 ADDITIONAL RESEARCH AND CORRESPONDENCE
                                                                                                                 REGARDING RULE 68 OFFER OF JUDGMENT.
6/16/2022               BRADLEY W. ANDERSEN                                           0.60                243.00 MEET WITH ZACH WITH REGARD TO SETTLEMENT
                                                                                                                 OFFER AND THE EFFECTS OF STATE FARMS
                                                                                                                 CONFESSION OF JUDGMENT.
6/17/2022               BRADLEY W. ANDERSEN                                           0.90                364.50 MEET WITH ZACH AND BRAD WITH REGARD TO
                                                                                                                 POTENTIAL AMENDED COMPLAINT AND STATE
                                                                                                                 FARM'S CONFESSION OF JUDGMENT.
6/17/2022               NICHOLAS F CODY                                               2.00                     0.00 REVIEW DRAFT RESPONSE TO SUMMARY
                                                                                                                    JUDGMENT (1.4); CONFERENCE CALL WITH
                                                                                                                    ATTORNEYS ANDERSEN, STOUMBOS, AND SMITH
                                                                                                                    (.6).
6/17/2022               BRADLEY W. ANDERSEN                                           1.10                     0.00 BEGIN TO REVIEW STATE FARM'S BRIEF ON THE
                                                                                                                    DISMISSAL OF THE IFCA CLAIM AND CONFER WITH
                                                                                                                    BRAD SMITH REGARDING REPLY.
6/20/2022               NICHOLAS F CODY                                               0.30                     0.00 TELEPHONE CALL WITH ATTORNEY ANDERSEN
                                                                                                                    REGARDING RESPONSE TO STATE FARM'S
                                                                                                                    MOTION FOR SUMMARY JUDGMENT.
6/20/2022               NICHOLAS F CODY                                               0.40                     0.00 FOLLOW UP TELEPHONE CALL WITH ATTORNEY
                                                                                                                    ANDERSEN REGARDING RESPONSE TO STATE
                                                                                                                    FARM'S MOTION FOR SUMMARY JUDGMENT.
6/20/2022               NICHOLAS F CODY                                               0.60                     0.00 INITIAL REVIEW AND REVISIONS TO RESPONSE TO
                                                                                                                    STATE FARM'S MOTION FOR SUMMARY
                                                                                                                    JUDGMENT.
6/20/2022               BRADLEY W. ANDERSEN                                           3.20                     0.00 BEGIN TO REVIEW AND REVISE OUR REPLY BRIEF.
6/20/2022               BRADLEY W. ANDERSEN                                           2.10                     0.00 RESEARCH THE LAW REGARDING INSURER'S
                                                                                                                    CLAIMS HANDLING DUTIES IN PREPARING
                                                                                                                    RESPONSE TO SUMMARY JUDGMENT MOTION.




“Pursuant to regulations effective January 1, 1998, a Payor who makes payment to an Attorney, in the ordinary course of a trade or business, must file an Information Return with the IRS and the Payee reporting such payment. Please
consult with your tax preparer to determine the property categorization of your payment(s).Our Tax identification number appears above.”
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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
6/21/2022               PRECIOUS M MILLER                                             4.50                     0.00 REVIEW RELEVANT PORTIONS OF FUNK, FORAKER
                                                                                                                    AND ANDERSON DEPOSITION FOR EXHIBITS (3.1);
                                                                                                                    REVIEW AND CONFIRM EXHIBITS FOR REPLY
                                                                                                                    BRIEF OF OUR MOTION FOR PARTIAL SUMMARY
                                                                                                                    JUDGMENT (1.4).
6/21/2022               NICHOLAS F CODY                                               2.80                     0.00 REVIEW AND REVISE RESPONSE TO STATE
                                                                                                                    FARM'S MOTION FOR SUMMARY JUDGMENT.
6/21/2022               BRADLEY W. ANDERSEN                                           0.30                121.50 FOLLOW-UP LETTER TO CLIENT.
6/21/2022               BRADLEY W. ANDERSEN                                           1.10                445.50 MEET WITH ZACH AND CLIENT TO DISCUSS
                                                                                                                 VARIOUS ISSUES, INCLUDING AMENDING THE
                                                                                                                 COMPLAINT, EMOTIONAL DISTRESS DAMAGES,
                                                                                                                 THE SETTLEMENT OFFER.
6/21/2022               BRADLEY W. ANDERSEN                                           0.40                162.00 FINALIZE AMENDED COMPLAINT.
6/21/2022               BRADLEY W. ANDERSEN                                           0.70                283.50 RESEARCH REGARDING EMOTIONAL DISTRESS
                                                                                                                 DAMAGES.
6/21/2022               BRADLEY W. ANDERSEN                                           0.30                121.50 RESEARCH REGARDING PRESENTATION OF
                                                                                                                 TREBLE DAMAGES ISSUES AT TRIAL.
6/21/2022               NICHOLAS F CODY                                               0.50                     0.00 TELEPHONE CALL WITH ATTORNEYS ANDERSEN
                                                                                                                    AND SMITH REGARDING RESPONSE TO STATE
                                                                                                                    FARM'S MOTION FOR SUMMARY JUDGMENT.
6/21/2022               BRADLEY W. ANDERSEN                                           0.60                     0.00 REVISE OUR STIPULATED MOTION AND ORDER TO
                                                                                                                    EXTEND DEADLINE FOR REPLY BRIEF IN
                                                                                                                    SUPPORT OF MOTION FOR SUMMARY JUDGMENT.
6/21/2022               BRADLEY W. ANDERSEN                                           1.80                     0.00 REVIEW AND FINALIZE OUR RESPONSE BRIEF.
6/26/2022               BRADLEY W. ANDERSEN                                           1.20                     0.00 REVIEW AND ANALYZE STATE FARM'S RESPONSE
                                                                                                                    TO OUR MOTION FOR SUMMARY JUDGMENT.
6/27/2022               PRECIOUS M MILLER                                             6.00                     0.00 REVIEW, ANALYZE AND EXTRACT MULTIPLE
                                                                                                                    EXCERPTS FROM RELEVANT DEPOSITIONS (4.2);
                                                                                                                    DRAFT AND FINALIZE BRAD ANDERSEN SECOND
                                                                                                                    DECLARATION (1.1); FINALIZE AND STAMP
                                                                                                                    EXHIBITS Q-S TO BRAD DECLARATION (.4); REVIEW




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
                                                                                                                           AND UPDATE RESPONSE EXHIBIT REFERENCES
                                                                                                                           (.5).
6/27/2022               NICHOLAS F CODY                                               0.30                     0.00 SEARCH FOR CASES ESTABLISHING STANDARD
                                                                                                                    OF CARE BASED ON INSURER'S INTERNAL
                                                                                                                    POLICIES.
6/27/2022               NICHOLAS F CODY                                               2.30                     0.00 REVIEW AND REVISE REPLY IN SUPPORT OF
                                                                                                                    MOTION FOR SUMMARY JUDGMENT (1.9);
                                                                                                                    TELEPHONE CALLS WITH ATTORNEY ANDERSEN
                                                                                                                    REGARDING SAME (.4).
6/27/2022               BRADLEY W. ANDERSEN                                           0.90                     0.00 DRAFT AND REVISE CLIENT DECLARATION.
6/27/2022               BRADLEY W. ANDERSEN                                           1.40                     0.00 REVIEW THE DEPOSITIONS OF FUNK AND
                                                                                                                    FORAKER TO INCORPORATE INTO OUR REPLY
                                                                                                                    BRIEF.
6/27/2022               BRADLEY W. ANDERSEN                                           1.30                     0.00 RESEARCH AND ANALYZE THE LAW REGARDING
                                                                                                                    "HABIT EVIDENCE" UNDER ER 406.
6/27/2022               BRADLEY W. ANDERSEN                                           5.50                     0.00 REVIEW AND REVISE REPLY IN SUPPORT OF OUR
                                                                                                                    MOTION FOR SUMMARY JUDGMENT.
6/27/2022               BRADLEY W. ANDERSEN                                           1.20                     0.00 DRAFT AND REVISE MY DECLARATION ATTACHING
                                                                                                                    ADDITION DEPOSITIONS AND EXHIBITS.
7/26/2022               BRADLEY W. ANDERSEN                                           0.30                     0.00 REVIEW BRAD'S MEMO ANALYZING ORDER
                                                                                                                    DENYING OUR MOTION FOR SUMMARY
                                                                                                                    JUDGMENT.
7/26/2022               BRADLEY W. ANDERSEN                                           0.20                     0.00 REVIEW LOCAL COURT RULES ON TIMELINE FOR
                                                                                                                    FILING MOTION FOR RECONSIDERATION.
7/26/2022               BRADLEY W. ANDERSEN                                           0.10                     0.00 TELEPHONE CONFERENCE WITH CLIENT TO
                                                                                                                    ADVISE HIM OF THE DECISION.
7/27/2022               NICHOLAS F CODY                                               0.50                     0.00 CONFERENCE CALL WITH ATTORNEYS ANDERSEN
                                                                                                                    AND SMITH REGARDING POTENTIAL MOTION FOR
                                                                                                                    RECONSIDERATION.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
7/27/2022               BRADLEY W. ANDERSEN                                           0.70                     0.00 TELEPHONE CONFERENCE WITH NICK CODY AND
                                                                                                                    BRAD SMITH TO ANALYZE THE ORDER AND
                                                                                                                    POSSIBLE MOTION FOR RECONSIDERATION.
7/27/2022               BRADLEY W. ANDERSEN                                           0.50                     0.00 REVIEW AND ANALYZE THE COURTS SUMMARY
                                                                                                                    JUDGMENT RULING TO ANALYZE POSSIBLE
                                                                                                                    MOTION FOR RECONSIDERATION.
8/15/2022               BRADLEY W. ANDERSEN                                           0.80                     0.00 PREPARE FOR AND CONFER WITH BRAD, DALE,
                                                                                                                    AND ZACH ON NEXT STEPS WITH REGARD TO
                                                                                                                    DENIAL OF OUR MOTION FOR SUMMARY
                                                                                                                    JUDGMENT AND SETTLEMENT.
12/9/2022               BRADLEY W. ANDERSEN                                           0.80                340.00 TELEPHONE CONFERENCE WITH BRAD SMITH,
                                                                                                                 DALE, AND ZACH WITH REGARD TO STATUS AND
                                                                                                                 DISCUSS NEXT STEPS.
12/9/2022               PHILLIP J HABERTHUR                                           1.40                553.00 MEETING WITH BRAD ANDERSEN AND BRAD SMITH
                                                                                                                 TO DISCUSS CASE AND SETTLEMENT
                                                                                                                 DISCUSSIONS.
12/28/2022 HEATHER A DUMONT                                                           0.20                     0.00 DRAFT NOTICE OF WITHDRAWAL AND
                                                                                                                    SUBSTITUTION OF COUNSEL.
1/2/2023                PHILLIP J HABERTHUR                                           0.20                   85.00 CORRESPONDENCE WITH BRAD SMITH
                                                                                                                   REGARDING TRIAL DATES (.1); REVIEW AND
                                                                                                                   FINALIZE NOTICE OF SUBSTITUTION OF COUNSEL
                                                                                                                   (.1).
1/5/2023                NICHOLAS F CODY                                               1.00                325.00 REVIEW AND REVISE JOINT STATUS REPORT ON
                                                                                                                 CASE STATUS.
1/5/2023                PHILLIP J HABERTHUR                                           0.20                   85.00 CORRESPONDENCE REGARDING TRIAL DATES
                                                                                                                   FOR JOINT STATUS REPORT.
1/13/2023               PHILLIP J HABERTHUR                                           0.10                   42.50 REVIEW COURT'S SCHEDULING ORDER FOR
                                                                                                                   EXPERT DISCOVERY.
4/25/2023               HEATHER A DUMONT                                              0.30                     0.00 FINALIZE AND E-MAIL CLERK DECLINATION OF
                                                                                                                    CONSENT FORM.
5/15/2023               NICHOLAS F CODY                                               0.60                195.00 PREPARE FOR AND ATTEND STATUS
                                                                                                                 CONFERENCE ON TRIAL SETTING (.4);




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
                                                                                                                           CORRESPONDENCE WITH ATTORNEY HABERTHUR
                                                                                                                           CONCERNING SAME (.2).
5/15/2023               PHILLIP J HABERTHUR                                           0.20                   85.00 CORRESPONDENCE WITH COURT REGARDING
                                                                                                                   TRIAL DATES AND SCHEDULING CONFERENCE.
5/15/2023               PHILLIP J HABERTHUR                                           0.20                   85.00 CORRESPONDENCE WITH BRAD SMITH
                                                                                                                   REGARDING TRIAL SCHEDULING CONFERENCE.
5/16/2023               PHILLIP J HABERTHUR                                           0.20                   85.00 REVIEW TRIAL SCHEDULING UPDATE AND
                                                                                                                   CORRESPONDENCE WITH ZACH STOUMBOS
                                                                                                                   REGARDING SAME.
5/18/2023               PHILLIP J HABERTHUR                                           0.20                   85.00 CORRESPONDENCE WITH CLIENT REGARDING
                                                                                                                   UPDATES ON TRIAL AND SETTLEMENT OFFER.
11/1/2023               HEATHER A DUMONT                                              0.10                     0.00 EMAIL CLIENT ATTACHING ECF 69 DISCLOSURE OF
                                                                                                                    EXPERT WITNESSES FILED BY PLAINTIFFS.
11/28/2023 PHILLIP J HABERTHUR                                                        0.50                212.50 REVIEW EXPERT REPORT OF MS. LEONHARDI (.4);
                                                                                                                 CORRESPONDENCE WITH BRAD SMITH
                                                                                                                 REGARDING SAME (.1).
2/14/2024               JOSEPH VANCE                                                  0.50                252.50 TELEPHONE CONFERENCE WITH PHIL
                                                                                                                 HABERTHUR AND NICK CODY RE: BACKGROUND
                                                                                                                 AND STRATEGY.
2/14/2024               NICHOLAS F CODY                                               0.50                187.50 TELEPHONE CALL WITH ATTORNEYS VANCE AND
                                                                                                                 HABERTHUR CONCERNING TRIAL.
2/14/2024               PHILLIP J HABERTHUR                                           0.50                237.50 TELEPHONE CALL WITH NICK CODY AND JOE
                                                                                                                 VANCE REGARDING CASE AND LITIGATION
                                                                                                                 STRATEGY.
2/16/2024               JOSEPH VANCE                                                  0.70                353.50 ANALYZE BACKGROUND PLEADINGS.
3/5/2024                AMANDA P BEATSON                                              0.80                     0.00 RUN SEARCHES FOR EXPERT REPORTS AND
                                                                                                                    DEPOSITION TRANSCRIPTS IN SHAREFILE AND
                                                                                                                    IMANAGE. CREATE FOLDER OF THE SAME FOR
                                                                                                                    ATTORNEY VANCE.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
3/5/2024                AMANDA P BEATSON                                              0.10                   22.50 CONFERENCE CALL WITH JOE VANCE TO DISCUSS
                                                                                                                   MISSING DEPOSITION TRANSCRIPTS AND EXPERT
                                                                                                                   REPORTS.
3/5/2024                JOSEPH VANCE                                                  4.30             2,171.50 ANALYZE BACKGROUND INFORMATION FOR
                                                                                                                PLAINTIFF'S PRETRIAL STATEMENT.
3/5/2024                JOSEPH VANCE                                                  0.50                252.50 VIDEO CONFERENCE WITH PHIL HABERTHUR AND
                                                                                                                 BRAD SMITH RE: TRIAL STRATEGY.
3/5/2024                PHILLIP J HABERTHUR                                           0.60                285.00 MEETING WITH JOE VANCE AND BRAD SMITH TO
                                                                                                                 DISCUSS TRIAL PREPARATION.
3/5/2024                JASON M ROSENBAUM                                             0.50                162.50 COMMENCE TRIAL PREPARATION AND DRAFTING
                                                                                                                 OF MOTIONS IN LIMINE AND JURY INSTRUCTIONS.
3/6/2024                AMANDA P BEATSON                                              0.30                     0.00 CREATE DOCUMENT REQUEST LINK FOR
                                                                                                                    DEPOSITION TRANSCRIPTS AND ENCLOSE LINK TO
                                                                                                                    BRAD SMITH WITH REQUESTS FOR MISSING
                                                                                                                    TRANSCRIPTS AND REPORT.
3/6/2024                AMANDA P BEATSON                                              0.10                     0.00 RUN KEYWORD SEARCHES IN IMANAGE FOR
                                                                                                                    EXPERT REPORTS.
3/6/2024                AMANDA P BEATSON                                              0.30                   67.50 CONFIRM RECEIPT OF EXPERT REPORT FROM
                                                                                                                   BRAD SMITH AND ORGANIZE EXPERT FILE. SEND
                                                                                                                   UPDATED LINK TO JOE VANCE.
3/6/2024                COLLINGER A JOHNSON                                           0.40                   50.00 DRAFT PLAINTIFFS' PRETRIAL STATEMENT.
3/6/2024                JOSEPH VANCE                                                  1.30                656.50 DRAFT DEPOSITION SUMMARY.
3/6/2024                JOSEPH VANCE                                                  1.50                757.50 DRAFT PRETRIAL STATEMENT.
3/6/2024                JOSEPH VANCE                                                  0.30                151.50 VIDEO CALL WITH BRAD SMITH RE: PRETRIAL
                                                                                                                 STATEMENT.
3/6/2024                JASON M ROSENBAUM                                             1.00                325.00 TELECONFERENCE AND E-MAILS WITH B.SMITH.
3/6/2024                JASON M ROSENBAUM                                             1.00                325.00 LEGAL RESEARCH RE: MOTIONS IN LIMINE.
3/8/2024                AMANDA P BEATSON                                              0.10                     0.00 SEND THE CONDENSED CAROL FUNK DEPOSITION
                                                                                                                    TRANSCRIPT TO BRAD SMITH.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
3/8/2024                AMANDA P BEATSON                                              0.50                112.50 REVIEW PROPOSED TRIAL EXHIBIT LIST AND
                                                                                                                 COMPARE TO DOCUMENTS IN SHAREFILE.
3/8/2024                JOSEPH VANCE                                                  2.50             1,262.50 CONTINUE DRAFTING PRETRIAL STATEMENT.
3/8/2024                JASON M ROSENBAUM                                             2.50                812.50 DRAFT PROPOSED JURY INSTRUCTIONS AND
                                                                                                                 MEMORANDUM RE: MOTIONS IN LIMINE.
3/8/2024                JASON M ROSENBAUM                                             0.50                162.50 LEGAL RESEARCH INTO LOCAL RULES.
3/11/2024               COLLINGER A JOHNSON                                           0.40                     0.00 DRAFT & FINALIZE NOTICE OF ASSOCIATION OF
                                                                                                                    COUNSEL FOR JOSEPH VANCE.
3/11/2024               AMANDA P BEATSON                                              0.50                     0.00 OPEN CASE IN LEXBE. IDENTIFY AND UPLOAD
                                                                                                                    DOCUMENTS INTO PLATFORM.
3/11/2024               AMANDA P BEATSON                                              0.20                   45.00 CONFERENCE CALL WITH COLLINGER JOHNSON
                                                                                                                   TO DISCUSS PRETRIAL STATEMENT AND EXHIBITS.
3/11/2024               AMANDA P BEATSON                                              2.00                450.00 IDENTIFY TRIAL EXHIBITS IN SHAREFILE AND
                                                                                                                 LEXBE.
3/11/2024               JOSEPH VANCE                                                  0.80                404.00 REVISE PRETRIAL STATEMENT.
3/11/2024               JASON M ROSENBAUM                                             3.50             1,137.50 DRAFT MEMORANDUM AND RESEARCH RE:
                                                                                                                MOTION IN LIMINE TOPICS.
3/11/2024               JASON M ROSENBAUM                                             3.00                975.00 DRAFT PROPOSED JURY INSTRUCTIONS.
3/12/2024               AMANDA P BEATSON                                              0.20                     0.00 DOWNLOAD HIGHLIGHTED DEPOSITION
                                                                                                                    TRANSCRIPTS FROM SECURE LINK, SAVE INTO
                                                                                                                    SHAREFILE, AND SEND TO JOE VANCE FOR HIS
                                                                                                                    REVIEW.
3/12/2024               COLLINGER A JOHNSON                                           0.40                   50.00 CONTINUE WORKING ON PLAINTIFFS' PRETRIAL
                                                                                                                   STATEMENT.
3/12/2024               JOSEPH VANCE                                                  0.50                252.50 CONTINUE REVISING PRETRIAL STATEMENT.
3/12/2024               JASON M ROSENBAUM                                             1.50                487.50 REVISIONS TO EXHIBIT LIST AND REVIEW TRIAL
                                                                                                                 EXHIBITS.
3/12/2024               JASON M ROSENBAUM                                             0.50                162.50 E-MAILS WITH CO-COUNSEL.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
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                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
3/13/2024               AMANDA P BEATSON                                              0.20                   45.00 MEET WITH COLLINGER JOHNSON TO DISCUSS
                                                                                                                   DESIGNATION OF DEPOSITION EXCERPTS.
3/13/2024               COLLINGER A JOHNSON                                           0.70                   87.50 WORK ON PLAINTIFFS' PRETRIAL STATEMENT.
3/13/2024               JOSEPH VANCE                                                  1.30                656.50 REVISE AND EDIT PRETRIAL STATEMENT.
3/13/2024               JASON M ROSENBAUM                                             0.20                   65.00 E-MAILS WITH CO-COUNSEL RE: PRE-TRIAL
                                                                                                                   STATEMENT.
3/14/2024               AMANDA P BEATSON                                              0.20                   45.00 LOCATE PAPER CLAIM FILE EXHIBIT, EXTRACT
                                                                                                                   FROM PRODUCTION, AND SAVE INTO TRIAL
                                                                                                                   EXHIBIT FOLDER.
3/14/2024               AMANDA P BEATSON                                              0.30                   67.50 REVIEW FILE FOR COURT REPORTER
                                                                                                                   INFORMATION AND SEND FOLLOW UP E-MAIL TO
                                                                                                                   COURT REPORTER TO REQUEST VIDEO OF PEGGY
                                                                                                                   FORAKER'S DEPOSITION.
3/14/2024               COLLINGER A JOHNSON                                           0.60                   75.00 WORK ON PLAINTIFFS' PRETRIAL STATEMENT.
3/14/2024               JOSEPH VANCE                                                  1.40                707.00 ANALYZE DEPOSITION DESIGNATIONS.
3/14/2024               JOSEPH VANCE                                                  0.20                101.00 TELEPHONE CONFERENCE WITH DEFENDANT'S
                                                                                                                 ATTORNEY RE: MOTIONS IN LIMINE.
3/14/2024               JOSEPH VANCE                                                  0.60                303.00 TELEPHONE CONFERENCE WITH BRAD SMITH RE:
                                                                                                                 EXHIBITS AND PRETRIAL STATEMENT.
3/14/2024               JASON M ROSENBAUM                                             1.50                487.50 TELECONFERENCE WITH CO-COUNSEL RE: PRE-
                                                                                                                 TRIAL STATEMENT AND REVIEW SAME.
3/15/2024               COLLINGER A JOHNSON                                           0.40                   50.00 WORK ON PLAINTIFFS' PRETRIAL STATEMENT.
3/15/2024               COLLINGER A JOHNSON                                           0.20                   25.00 COMMUNICATE WITH COURT REPORTER AND
                                                                                                                   VIDEOGRAPHER TO OBTAIN VIDEOTAPED COPY
                                                                                                                   OF JUNE 25, 2021 DEPOSITION OF PEGGY
                                                                                                                   FORAKER.
3/15/2024               JOSEPH VANCE                                                  0.80                404.00 REVIEW DEPOSITIONS IN PREPARATION FOR
                                                                                                                 TRIAL.
3/15/2024               JOSEPH VANCE                                                  0.70                353.50 CONTINUE REVISING PRETRIAL STATEMENT.
3/15/2024               JASON M ROSENBAUM                                             0.20                   65.00 DRAFT JURY INSTRUCTIONS.



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                                                                                                             805 Broadway Street                                T: (360) 696-3312
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                                                                                                             Vancouver, WA 98666                                www.landerholm.com



STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
3/18/2024               COLLINGER A JOHNSON                                           0.30                   37.50 FINALIZE PLAINTIFFS' PRETRIAL STATEMENT.
3/18/2024               JOSEPH VANCE                                                  1.50                757.50 DRAFT DEPOSITION SUMMARY IN PREPARATION
                                                                                                                 FOR TRIAL.
3/18/2024               JOSEPH VANCE                                                  0.70                353.50 REVISE AND FINALIZE PRETRIAL STATEMENT.
3/18/2024               JASON M ROSENBAUM                                             0.20                   65.00 E-MAILS WITH CLIENT RE: TRIAL.
3/19/2024               JOSEPH VANCE                                                  0.30                151.50 EXCHANGE COMMUNICATIONS WITH OPPOSING
                                                                                                                 COUNSEL RE: PRETRIAL DEADLINES.
3/19/2024               JOSEPH VANCE                                                  0.80                404.00 DRAFT DEPOSITION SUMMARY.
3/19/2024               JASON M ROSENBAUM                                             0.20                   65.00 E-MAILS RE: UPCOMING TRIAL DATE.
3/21/2024               JOSEPH VANCE                                                  0.20                101.00 REVIEW AND RESPOND TO COMMUNICATION
                                                                                                                 FROM COURT RE: TRIAL SETTING.
3/21/2024               JASON M ROSENBAUM                                             0.20                   65.00 E-MAIL WITH CLIENT.
3/25/2024               JASON M ROSENBAUM                                             3.00                975.00 DRAFT JOINT JURY INSTRUCTIONS.
3/26/2024               JASON M ROSENBAUM                                             0.50                162.50 CONTINUE DRAFTING JOINT JURY INSTRUCTIONS.
3/27/2024               JOSEPH VANCE                                                  0.50                252.50 REVIEW AND COMMENT ON DRAFT JURY
                                                                                                                 INSTRUCTIONS.
3/27/2024               JOSEPH VANCE                                                  0.50                252.50 REVIEW DEFENDANT'S PRETRIAL STATEMENT.
3/27/2024               JOSEPH VANCE                                                  0.30                151.50 TELEPHONE CONFERENCE WITH OPPOSING
                                                                                                                 COUNSEL RE: SCHEDULING ISSUES.
3/27/2024               JASON M ROSENBAUM                                             4.50             1,462.50 CONTINUE DRAFTING JOINT JURY INSTRUCTIONS
                                                                                                                AND REVIEW PATTERN JURY INSTRUCTIONS AND
                                                                                                                CASE LAW IN FURTHERANCE OF SAME.
3/28/2024               JOSEPH VANCE                                                  0.20                101.00 TELEPHONE CONFERENCE WITH ZACH
                                                                                                                 STOUMBOS RE: STRATEGY.
3/28/2024               JOSEPH VANCE                                                  1.50                757.50 REVISE AND EDIT JURY INSTRUCTIONS.
3/28/2024               JOSEPH VANCE                                                  0.50                252.50 REVIEW EMAIL FROM OPPOSING COUNSEL AND
                                                                                                                 ANALYZE ISSUE OF DEPOSITION DESIGNATIONS.
3/28/2024               JASON M ROSENBAUM                                             0.80                260.00 CONTINUE DRAFTING JOINT JURY INSTRUCTIONS.



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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
3/28/2024               JASON M ROSENBAUM                                             0.20                   65.00 E-MAILS WITH CO-COUNSEL RE: TRIAL
                                                                                                                   PREPARATION.
3/29/2024               JOSEPH VANCE                                                  0.50                252.50 REVIEW AND COMMENT ON DRAFT JURY
                                                                                                                 INSTRUCTIONS.
3/29/2024               JOSEPH VANCE                                                  0.10                   50.50 DRAFT EMAIL TO OPPOSING COUNSEL RE:
                                                                                                                   EVIDENTIARY ISSUE.
3/29/2024               JOSEPH VANCE                                                  0.10                   50.50 DRAFT EMAIL TO TEAM RE: TRIAL STATUS.
3/29/2024               JOSEPH VANCE                                                  0.10                   50.50 TELEPHONE CONFERENCE WITH BRAD SMITH RE:
                                                                                                                   STRATEGY.
3/29/2024               JOSEPH VANCE                                                  0.50                252.50 ATTEND STATUS CONFERENCE.
3/29/2024               JASON M ROSENBAUM                                             3.50             1,137.50 DRAFT AND REVISE JOINT JURY INSTRUCTIONS
                                                                                                                AND REVIEW PATTERN JURY INSTRUCTIONS AND
                                                                                                                CASE LAW IN FURTHERANCE OF SAME.
3/29/2024               JASON M ROSENBAUM                                             0.50                162.50 E-MAILS WITH CO-COUNSEL AND CLIENT.
4/1/2024                COLLINGER A JOHNSON                                           0.30                   37.50 FINALIZE & FILE STIPULATION REGARDING
                                                                                                                   ADMISSIBILITY OF EVIDENCE AND TESTIMONY.
4/1/2024                COLLINGER A JOHNSON                                           0.70                   87.50 BEGIN DRAFTING TRIAL SUBPOENAS FOR FUNK
                                                                                                                   AND STEWARD.
4/1/2024                JOSEPH VANCE                                                  0.30                151.50 REVIEW AND COMMENT ON PROPOSED JURY
                                                                                                                 INSTRUCTIONS.
4/1/2024                JOSEPH VANCE                                                  0.50                252.50 REVIEW AND COMMENT ON STIPULATION.
4/1/2024                JASON M ROSENBAUM                                             0.80                260.00 DRAFT AND REVISE STIPULATION.
4/1/2024                JASON M ROSENBAUM                                             0.30                   97.50 E-MAILS AND TELECONFERENCE WITH OPPOSING
                                                                                                                   COUNSEL AND CO-COUNSEL RE: TRIAL.
4/1/2024                JASON M ROSENBAUM                                             0.80                260.00 DRAFT AND REVISE TRIAL SUBPOENAS.
4/1/2024                JASON M ROSENBAUM                                             1.60                520.00 REVIEW AND ANALYSIS OF DEPOSITION
                                                                                                                 TRANSCRIPTS AND EXHIBITS IN PREPARATION
                                                                                                                 FOR TRIAL.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
4/2/2024                COLLINGER A JOHNSON                                           0.20                   25.00 DRAFT & FINALIZE NOTICE OF ASSOCIATION OF
                                                                                                                   COUNSEL FOR JASON ROSENBAUM.
4/2/2024                JASON M ROSENBAUM                                             0.50                162.50 E-MAILS AND TELECONFERENCE WITH LEGAL
                                                                                                                 ASSISTANT RE: STIPULATION E-FILING.
4/3/2024                JASON M ROSENBAUM                                             0.50                162.50 REVISIONS TO AND FILING OF NOTICE OF
                                                                                                                 ASSOCIATION.
4/3/2024                JASON M ROSENBAUM                                             0.50                162.50 REVIEW AND ANALYSIS OF DEPOSITION
                                                                                                                 TRANSCRIPTS AND EXHIBITS IN PREPARATION
                                                                                                                 FOR TRIAL.
4/4/2024                JASON M ROSENBAUM                                             0.20                   65.00 E-MAILS WITH OPPOSING COUNSEL RE: JURY
                                                                                                                   INSTRUCTIONS.
4/4/2024                JASON M ROSENBAUM                                             0.80                260.00 REVIEW AND ANALYZE WASHINGTON
                                                                                                                 AUTHORITIES RE: NEGLIGENT
                                                                                                                 MISREPRESENTATION INSTRUCTIONS AND
                                                                                                                 BURDEN OF PROOF.
4/8/2024                COLLINGER A JOHNSON                                           0.40                   50.00 BEGIN DRAFTING PROPOSED PRETRIAL ORDER.
4/8/2024                JOSEPH VANCE                                                  3.00             1,515.00 ANALYZE DEPOSITION TESTIMONY.
4/8/2024                JOSEPH VANCE                                                  0.50                252.50 REVIEW JURY INSTRUCTIONS.
4/8/2024                JOSEPH VANCE                                                  0.50                252.50 VIDEO CONFERENCE WITH BRAD SMITH AND
                                                                                                                 JASON ROSENBAUM RE: TRIAL PREP AND
                                                                                                                 STRATEGY.
4/8/2024                JASON M ROSENBAUM                                             0.50                162.50 DRAFT AND REVISE TRIAL SUBPOENAS.
4/8/2024                JASON M ROSENBAUM                                             1.00                325.00 DRAFT NOTICE TO ATTEND TRIAL.
4/8/2024                JASON M ROSENBAUM                                             1.00                325.00 DRAFT PROPOSED PRE-TRIAL ORDER.
4/8/2024                JASON M ROSENBAUM                                             1.00                325.00 REVIEW AND ANALYZE DEPOSITION TRANSCRIPTS
                                                                                                                 AND EXHIBITS IN PREPARATION FOR TRIAL.
4/9/2024                AMANDA P BEATSON                                              0.20                   45.00 RESEARCH FEDERAL SUBPOENA FEES AND
                                                                                                                   FOLLOW UP WITH COLLINGER JOHNSON TO
                                                                                                                   DISCUSS THE SAME.
4/9/2024                COLLINGER A JOHNSON                                           0.50                   62.50 PREPARE TRIAL SUBPOENA OF CAROL FUNK.



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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
4/9/2024                COLLINGER A JOHNSON                                           0.60                   75.00 WORK ON PROPOSED PRETRIAL ORDER.
4/9/2024                JOSEPH VANCE                                                  2.30             1,161.50 ANALYZE EXHIBITS FOR TRIAL.
4/9/2024                JOSEPH VANCE                                                  2.00             1,010.00 REVIEW AND REVISE PRETRIAL ORDER.
4/9/2024                JOSEPH VANCE                                                  0.60                303.00 EXCHANGE COMMUNICATIONS WITH BRAD SMITH
                                                                                                                 RE: STRATEGY.
4/9/2024                JOSEPH VANCE                                                  0.50                252.50 ANALYZE STATE FARM'S PROPOSED JURY
                                                                                                                 INSTRUCTIONS.
4/9/2024                JOSEPH VANCE                                                  0.50                252.50 CONFERENCE WITH DALE AND LETA ANDERSON
                                                                                                                 RE: STATUS AND STRATEGY.
4/9/2024                JASON M ROSENBAUM                                             0.70                227.50 CONTINUE DRAFTING PROPOSED PRE-TRIAL
                                                                                                                 ORDER.
4/9/2024                JASON M ROSENBAUM                                             2.00                650.00 REVIEW TRIAL EXHIBITS AND DEPOSITION
                                                                                                                 EXCERPTS IN PREPARATION FOR TRIAL.
4/9/2024                JASON M ROSENBAUM                                             0.30                   97.50 E-MAILS WITH CO-COUNSEL RE: TRIAL
                                                                                                                   PREPARATION.
4/9/2024                JASON M ROSENBAUM                                             0.20                   65.00 E-MAILS WITH OPPOSING COUNSEL.
4/10/2024               JOSEPH VANCE                                                  0.50                252.50 REVISE STIPULATED FACTS.
4/10/2024               JOSEPH VANCE                                                  0.50                252.50 REVIEW AND REVISE EXHIBIT LIST.
4/10/2024               JOSEPH VANCE                                                  1.50                757.50 RESEARCH ISSUES RELATED TO JURY
                                                                                                                 INSTRUCTIONS.
4/10/2024               JOSEPH VANCE                                                  3.50             1,767.50 REVISE AND EDIT JURY INSTRUCTIONS.
4/10/2024               JOSEPH VANCE                                                  1.00                505.00 EXCHANGE COMMUNICATIONS WITH BRAD SMITH
                                                                                                                 AND JASON ROSENBAUM RE: TRIAL STRATEGY.
4/10/2024               JOSEPH VANCE                                                  1.50                757.50 PREPARE FOR AND ATTEND PRE-TRIAL
                                                                                                                 CONFERENCE WITH OPPOSING COUNSEL.
4/10/2024               PHILLIP J HABERTHUR                                           0.60                285.00 TELEPHONE CALL WITH BRAD ANDERSEN TO
                                                                                                                 DISCUSS BACKGROUND OF CASE AND TRIAL
                                                                                                                 PREPARATION.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
4/10/2024               JASON M ROSENBAUM                                             1.00                325.00 TELECONFERENCE AND E-MAILS WITH B.SMITH
                                                                                                                 AND J.VANCE RE: TRIAL STRATEGY.
4/10/2024               JASON M ROSENBAUM                                             4.00             1,300.00 DRAFT AND REVISE PROPOSED JOINT AND
                                                                                                                DISPUTED JURY INSTRUCTIONS.
4/10/2024               JASON M ROSENBAUM                                             1.50                487.50 REVIEW AND ANALYZE COURT RULES AND FILE IN
                                                                                                                 PREPARATION FOR TRIAL.
4/10/2024               JASON M ROSENBAUM                                             1.50                487.50 PREPARE FOR AND ATTEND PRE-TRIAL
                                                                                                                 CONFERENCE WITH OPPOSING COUNSEL.
4/11/2024               COLLINGER A JOHNSON                                           0.10                   12.50 CONTINUE PREPARING SUBPOENA OF STEVEN
                                                                                                                   MCALISTER.
4/11/2024               JOSEPH VANCE                                                  0.20                101.00 EXCHANGE EMAILS WITH COURT CLERK RE:
                                                                                                                 TRIAL.
4/11/2024               JOSEPH VANCE                                                  0.40                202.00 ANALYZE AND RESPOND TO LOGISTICAL ISSUES
                                                                                                                 FOR TRIAL.
4/11/2024               JOSEPH VANCE                                                  1.80                909.00 CONTINUE REVISING AND EDITING JURY
                                                                                                                 INSTRUCTIONS.
4/11/2024               JASON M ROSENBAUM                                             2.00                650.00 DRAFT AND REVISE PROPOSED JOINT AND
                                                                                                                 DISPUTED JURY INSTRUCTIONS.
4/11/2024               JASON M ROSENBAUM                                             0.30                   97.50 E-MAILS WITH CO-COUNSEL AND ATTORNEY
                                                                                                                   VANCE RE: JURY INSTRUCTIONS.
4/11/2024               JASON M ROSENBAUM                                             2.00                650.00 DRAFT TRIAL BRIEF AND VOIR DIRE STATEMENT.
4/11/2024               JASON M ROSENBAUM                                             0.20                   65.00          E-MAIL WITH COURT STAFF RE: COURTROOM
                                                                                                                           TRAINING.
4/12/2024               COLLINGER A JOHNSON                                           0.20                   25.00 WORK ON PRETRIAL ORDER.
4/12/2024               JOSEPH VANCE                                                  0.50                252.50 EXCHANGE COMMUNICATIONS WITH PLAINTIFF'S
                                                                                                                 COUNSEL RE: PRETRIAL PLEADINGS.
4/12/2024               JOSEPH VANCE                                                  0.70                353.50 REVISE AND EDIT JURY INSTRUCTIONS.
4/12/2024               JOSEPH VANCE                                                  0.60                303.00 EXCHANGE COMMUNICATIONS WITH BRAD SMITH
                                                                                                                 RE: STRATEGY.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
4/12/2024               JOSEPH VANCE                                                  0.60                303.00 REVISE AND EDIT TRIAL BRIEF.
4/12/2024               JASON M ROSENBAUM                                             5.00             1,625.00 DRAFT NEUTRAL STATEMENT, VOIR DIRE
                                                                                                                QUESTIONS, AND TRIAL BRIEF.
4/14/2024               JASON M ROSENBAUM                                             5.00             1,625.00 DRAFT AND REVISE TRIAL BRIEF AND JURY
                                                                                                                INSTRUCTIONS.
4/15/2024               COLLINGER A JOHNSON                                           1.10                137.50 WORK ON PRETRIAL ORDER AND ACCOMPANYING
                                                                                                                 PLEADINGS.
4/15/2024               JOSEPH VANCE                                                  4.20             2,121.00 REVISE AND EDIT TRIAL BRIEF, JURY
                                                                                                                INSTRUCTIONS, AND PRETRIAL ORDER.
4/15/2024               JOSEPH VANCE                                                  0.80                404.00 EXCHANGE COMMUNICATIONS WITH STATE
                                                                                                                 FARM'S ATTORNEY RE: JURY INSTRUCTIONS AND
                                                                                                                 PRETRIAL ORDER.
4/15/2024               JASON M ROSENBAUM                                             2.00                650.00 DRAFT, REVISE, AND FINALIZE JURY
                                                                                                                 INSTRUCTIONS.
4/15/2024               JASON M ROSENBAUM                                             1.50                487.50 DRAFT, REVISE, AND FINALIZE TRIAL BRIEF.
4/15/2024               JASON M ROSENBAUM                                             0.50                162.50 DRAFT, REVISE, AND FINALIZE NEUTRAL
                                                                                                                 STATEMENT.
4/15/2024               JASON M ROSENBAUM                                             0.50                162.50 DRAFT, REVISE, AND FINALIZE VOIR DIRE.
4/15/2024               JASON M ROSENBAUM                                             0.50                162.50 DRAFT, REVISE, AND FINALIZE PRE-TRIAL ORDER.
4/15/2024               JASON M ROSENBAUM                                             0.50                162.50 TELECONFERENCE AND E-MAILS WITH CO-
                                                                                                                 COUNSEL AND DEFENDANT'S COUNSEL RE: TRIAL.
4/15/2024               JASON M ROSENBAUM                                             1.50                487.50 REVIEW AND ANALYZE WASHINGTON
                                                                                                                 AUTHORITIES AND PLEADINGS RE: NONECONOMIC
                                                                                                                 DAMAGES.
4/16/2024               AMANDA P BEATSON                                              0.20                     0.00 CONFERENCE CALL WITH JOE VANCE REGARDING
                                                                                                                    TRIAL DIRECTOR AND DEPOSITION VIDEO OF
                                                                                                                    PEGGY FORAKER.
4/16/2024               AMANDA P BEATSON                                              0.10                   22.50 FOLLOW UP WITH COLLINGER JOHNSON AND
                                                                                                                   CURTIS CHRISTENSEN REGARDING SPLICING OF
                                                                                                                   VIDEO FOR TRIAL.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
4/17/2024               COLLINGER A JOHNSON                                           1.60                200.00 EDIT VIDEO DEPOSITION OF PEGGY FORAKER.
4/18/2024               COLLINGER A JOHNSON                                           0.30                   37.50 WORK ON TRIAL SUBPOENA FOR RICHARD
                                                                                                                   STEWART.
4/18/2024               JOSEPH VANCE                                                  0.20                101.00 EXCHANGE COMMUNICATIONS WITH COURT
                                                                                                                 CLERK RE: LOGISTICS OF PRETRIAL
                                                                                                                 CONFERENCE.
4/18/2024               JOSEPH VANCE                                                  0.50                252.50 VIDEO CONFERENCE WITH BRAD SMITH AND
                                                                                                                 JASON ROSENBAUM RE: TRIAL STRATEGY.
4/18/2024               JOSEPH VANCE                                                  1.50                757.50 REVIEW EDITED FORAKER DEPOSITION.
4/18/2024               JASON M ROSENBAUM                                             0.50                162.50 TELECONFERENCE WITH B.SMITH AND J.VANCE
                                                                                                                 RE: TRIAL PREPARATION.
4/18/2024               JASON M ROSENBAUM                                             2.50                812.50 REVIEW AND ANALYZE DEPOSITION TRANSCRIPTS
                                                                                                                 AND EXHIBITS IN PREPARATION FOR TRIAL.
4/19/2024               COLLINGER A JOHNSON                                           0.90                112.50 PREPARE INDEX TO CROSS-REFERENCE TRIAL
                                                                                                                 EXHIBITS WITH DEPOSITION EXHIBITS.
4/19/2024               COLLINGER A JOHNSON                                           0.30                   37.50 WORK ON TRIAL SUBPOENA OF RICHARD
                                                                                                                   STEWART.
4/19/2024               JOSEPH VANCE                                                  3.50             1,767.50 SUMMARIZE DEPOSITION TRANSCRIPTS FOR
                                                                                                                TRIAL AND ANALYZE TRIAL EXHIBITS.
4/19/2024               JASON M ROSENBAUM                                             2.50                812.50 REVIEW AND ANALYZE TRIAL EXHIBITS AND
                                                                                                                 DEPOSITIONS IN PREPARATION FOR TRIAL.
4/19/2024               JASON M ROSENBAUM                                             0.50                162.50 E-MAILS WITH J.VANCE AND LEGAL ASSISTANT RE:
                                                                                                                 TRIAL SUBPOENAS.
4/22/2024               JOSEPH VANCE                                                  1.50                757.50 OUTLINE ISSUES FOR TRIAL.
4/22/2024               JOSEPH VANCE                                                  0.50                252.50 ANALYZE ISSUES RELATED TO PRETRIAL
                                                                                                                 CONFERENCE.
4/22/2024               JOSEPH VANCE                                                  0.70                353.50 ANALYZE ISSUES RELATED TO JURY SELECTION
                                                                                                                 AND VERDICT AND EXCHANGE COMMUNICATIONS
                                                                                                                 WITH BRAD SMITH RE: SAME.




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                                                                                                             805 Broadway Street                                T: (360) 696-3312
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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
4/22/2024               JOSEPH VANCE                                                  0.30                151.50 EXCHANGE COMMUNICATIONS WITH OPPOSING
                                                                                                                 COUNSEL RE: LOGISTICS FOR TRIAL.
4/22/2024               JOSEPH VANCE                                                  0.20                101.00 EXCHANGE COMMUNICATIONS WITH COURT RE:
                                                                                                                 PRETRIAL CONFERENCE.
4/22/2024               JASON M ROSENBAUM                                             2.50                812.50 REVIEW AND ANALYZE DEPOSITION
                                                                                                                 TRANSCRIPTS, TRIAL EXHIBITS, AND EXPERT
                                                                                                                 REPORTS IN PREPARATION FOR TRIAL.
4/22/2024               JASON M ROSENBAUM                                             0.50                162.50 E-MAILS WITH B.SMITH AND J.VANCE RE:
                                                                                                                 STEWART TRIAL SUBPOENA.
4/22/2024               JASON M ROSENBAUM                                             2.00                650.00 REVIEW AND ANALYZE WASHINGTON AND
                                                                                                                 FEDERAL AUTHORITIES RE: FEDERAL RULE OF
                                                                                                                 CIVIL PROCEDURE 48 AND JURORS.
4/23/2024               JOSEPH VANCE                                                  3.50             1,767.50 DRAFT WITNESS OUTLINES FOR TRIAL.
4/23/2024               JASON M ROSENBAUM                                             2.00                650.00 REVIEW PLEADINGS, EXHIBITS, AND DEPOSITION
                                                                                                                 TRANSCRIPTS IN PREPARATION FOR TRIAL.
4/24/2024               AMANDA P BEATSON                                              0.40                     0.00 SET UP TRIAL DIRECTOR FOR CASE AND DRAFT
                                                                                                                    TRIAL DIRECTOR INDEX.
4/24/2024               COLLINGER A JOHNSON                                           1.40                175.00 FURTHER EDITS TO VIDEOTAPED DEPOSITION OF
                                                                                                                 PEGGY FORAKER.
4/24/2024               JOSEPH VANCE                                                  1.30                656.50 DRAFT WITNESS OUTLINES FOR TRIAL.
4/24/2024               JASON M ROSENBAUM                                             1.50                487.50 DRAFT TRIAL CHECKLIST AND REVIEW AND
                                                                                                                 ANALYZE FILE IN PREPARATION FOR TRIAL.
4/24/2024               JASON M ROSENBAUM                                             0.50                162.50 E-MAILS WITH STAFF AND CALL COURT STAFF RE:
                                                                                                                 TRIAL ISSUES.
4/25/2024               COLLINGER A JOHNSON                                           0.70                   87.50 PREPARE EXHIBITS FOR TRIAL.
4/25/2024               JOSEPH VANCE                                                  0.60                303.00 REVIEW PRETRIAL CONFERENCE AGENDA.
4/25/2024               JOSEPH VANCE                                                  3.50             1,767.50 PREPARE WITNESS OUTLINES.
4/25/2024               JOSEPH VANCE                                                  2.00             1,010.00 PREPARE DALE AND LETA ANDERSON FOR TRIAL
                                                                                                                TESTIMONY.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
4/25/2024               JASON M ROSENBAUM                                             0.50                162.50 MULTIPLE E-MAILS WITH B.SMITH RE: TRIAL
                                                                                                                 STRATEGY.
4/25/2024               JASON M ROSENBAUM                                             0.20                   65.00 E-MAIL WITH OPPOSING COUNSEL.
4/25/2024               JASON M ROSENBAUM                                             0.20                   65.00 E-MAIL WITH COURT STAFF.
4/25/2024               JASON M ROSENBAUM                                             1.00                325.00 REVIEW AND ANALYZE DEPOSITION TRANSCRIPTS
                                                                                                                 AND TRIAL EXHIBITS IN PREPARATION FOR TRIAL.
4/26/2024               JOSEPH VANCE                                                  1.50                757.50 PREPARE FOR AND ATTEND PRETRIAL
                                                                                                                 CONFERENCE.
4/26/2024               JOSEPH VANCE                                                  4.00             2,020.00 TRAVEL TO AND FROM PRETRIAL CONFERENCE IN
                                                                                                                TACOMA.
4/26/2024               JOSEPH VANCE                                                  1.50                757.50 ANALYZE LEGAL ISSUES FOR PRETRIAL
                                                                                                                 CONFERENCE.
4/27/2024               JASON M ROSENBAUM                                             0.40                130.00 E-MAILS AND REVIEW AND ANALYZE WASHINGTON
                                                                                                                 AUTHORITIES RE: RESPONSE TO MOTION IN
                                                                                                                 LIMINE.
4/29/2024               COLLINGER A JOHNSON                                           2.60                325.00 CONTINUE PREPARING EXHIBITS FOR TRIAL.
4/29/2024               JOSEPH VANCE                                                  0.30                151.50 EXCHANGE COMMUNICATIONS WITH OPPOSING
                                                                                                                 COUNSEL RE: TRIAL ISSUES.
4/29/2024               JASON M ROSENBAUM                                             2.00                650.00 DRAFT RESPONSE TO MOTION IN LIMINE.
4/30/2024               JASON M ROSENBAUM                                             4.00             1,300.00 CONTINUE DRAFTING RESPONSE TO MOTION IN
                                                                                                                LIMINE.
4/30/2024               JASON M ROSENBAUM                                             0.70                227.50 NUMEROUS E-MAILS WITH B.SMITH AND COURT
                                                                                                                 RE: TRIAL PREPARATION.
4/30/2024               JASON M ROSENBAUM                                             1.50                487.50 COMPILE HORNBOOKS, RULES ON EVIDENCE, AND
                                                                                                                 OTHER REFERENCES FOR USE AT TRIAL.
4/30/2024               COLLINGER A JOHNSON                                           0.90                     0.00 PREPARE COURT COPIES OF USB AND TRIAL
                                                                                                                    EXHIBIT BINDER.
4/30/2024               AMANDA P BEATSON                                              0.20                     0.00 REVIEW TRIAL DIRECTOR'S ACCEPTED FILE TYPES
                                                                                                                    AND FOLLOW UP WITH COLLINGER JOHNSON
                                                                                                                    REGARDING THE SAME.



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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
4/30/2024               COLLINGER A JOHNSON                                           0.80                100.00 CONTINUE PREPARING EXHIBITS FOR TRIAL.
4/30/2024               JOSEPH VANCE                                                  0.50                252.50 ANALYZE MOTION IN LIMINE AND REVIEW AND
                                                                                                                 COMMENT ON RESPONSE TO SAME.
4/30/2024               JOSEPH VANCE                                                  6.70             3,383.50 DRAFT TRIAL WITNESS OUTLINES.
5/1/2024                JASON M ROSENBAUM                                             5.00             1,625.00 DRAFT AND REVISE BRIEF AND DECLARATION IN
                                                                                                                OPPOSITION TO DEFENDANT'S MOTION IN LIMINE.
5/1/2024                JASON M ROSENBAUM                                             0.50                162.50 MULTIPLE E-MAILS WITH CO-COUNSEL AND
                                                                                                                 OPPOSING COUNSEL RE: TRIAL.
5/1/2024                JASON M ROSENBAUM                                             0.50                162.50 TELECONFERENCE WITH CO-COUNSEL RE: TRIAL
                                                                                                                 PREPARATION.
5/1/2024                AMANDA P BEATSON                                              0.30                   67.50 CONFERENCE CALL WITH COLLINGER JOHNSON
                                                                                                                   TO DISCUSS TRIAL PREPARATION AND REQUIRED
                                                                                                                   MATERIALS.
5/1/2024                COLLINGER A JOHNSON                                           1.30                162.50 WORK ON RESPONSE TO MOTION IN LIMINE AND
                                                                                                                 DECLARATION OF JASON ROSENBAUM, EXHIBITS
                                                                                                                 TO THE SAME.
5/1/2024                COLLINGER A JOHNSON                                           2.50                312.50 CONTINUE PREPARING EXHIBITS, BINDERS, USB,
                                                                                                                 AND OTHER DOCUMENTS FOR TRIAL.
5/1/2024                JOSEPH VANCE                                                  2.30             1,161.50 DRAFT WITNESS OUTLINES FOR TRIAL.
5/1/2024                JOSEPH VANCE                                                  0.80                404.00 VIDEO CONFERENCE WITH BRAD SMITH AND
                                                                                                                 JASON ROSENBAUM RE: TRIAL STRATEGY.
5/1/2024                JOSEPH VANCE                                                  0.70                353.50 REVIEW VOIR DIRE QUESTIONS AND EXCHANGE
                                                                                                                 COMMUNICATIONS WITH STATE FARM ATTORNEY
                                                                                                                 RE: SAME.
5/1/2024                JOSEPH VANCE                                                  0.20                101.00 REVIEW PRETRIAL ORDER.
5/1/2024                JOSEPH VANCE                                                  0.30                151.50 EXCHANGE COMMUNICATIONS WITH COURT
                                                                                                                 CLERK RE: TRIAL LOGISTICS.
5/1/2024                JOSEPH VANCE                                                  1.50                757.50 REVISE AND EDIT RESPONSE TO MOTION IN
                                                                                                                 LIMINE.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
5/2/2024                JASON M ROSENBAUM                                             2.50                812.50 DRAFT, REVISE, AND FINALIZE OPPOSITION TO
                                                                                                                 DEFENDANT'S MOTION IN LIMINE.
5/2/2024                JASON M ROSENBAUM                                             0.50                162.50           E-MAILS WITH CO-COUNSEL AND OPPOSING
                                                                                                                           COUNSEL RE: TRIAL EXHIBITS.
5/2/2024                COLLINGER A JOHNSON                                           1.00                125.00 FINALIZE RESPONSE TO MOTION IN LIMINE,
                                                                                                                 ROSENBAUM DECLARATION, AND EXHIBITS TO
                                                                                                                 THE SAME.
5/2/2024                COLLINGER A JOHNSON                                           0.90                112.50 UPDATE EXHIBITS & POTENTIAL REBUTTAL
                                                                                                                 EXHIBITS FOR TRIAL.
5/2/2024                JOSEPH VANCE                                                  0.70                353.50 EXCHANGE COMMUNICATIONS WITH BRAD SMITH
                                                                                                                 AND JASON ROSENBAUM RE: TRIAL.
5/2/2024                JOSEPH VANCE                                                  1.00                505.00 REVISE AND UPDATE WITNESS OUTLINES.
5/3/2024                JASON M ROSENBAUM                                             3.00                675.00 ATTEND IN-PERSON COURTROOM TRAINING AT
                                                                                                                 WESTERN DISTRICT COURTHOUSE IN TACOMA.
5/3/2024                JASON M. ROSENBAUM                                            5.00             1,125.00 TRAVEL FROM LANDERHOLM OFFICE TO AND
                                                                                                                FROM U.S. DISTRICT COURT IN TACOMA TO
                                                                                                                ATTEND COURTROOM TRAINING.
5/3/2024                COLLINGER A JOHNSON                                           1.10                     0.00 FINALIZE EXHIBITS, BINDERS, & USBS FOR TRIAL.
5/3/2024                JOSEPH VANCE                                                  0.20                101.00 TELEPHONE CONFERENCE WITH DALE ANDERSON
                                                                                                                 RE: TRIAL.
5/4/2024                JASON M ROSENBAUM                                             0.50                162.50 MULTIPLE E-MAILS WITH B.SMITH AND J.VANCE
                                                                                                                 RE: TRIAL.
5/4/2024                JOSEPH VANCE                                                  2.50             1,262.50 REVISE WITNESS OUTLINES AND EXCHANGE
                                                                                                                COMMUNICATIONS WITH BRAD SMITH RE: SAME.
5/5/2024                JASON M ROSENBAUM                                             0.50                162.50 CONFERENCE WITH CLIENTS AND CO-COUNSEL
                                                                                                                 RE: TRIAL STRATEGY.
5/5/2024                JASON M ROSENBAUM                                             2.00                450.00 TRAVEL TO TACOMA, WASHINGTON FOR TRIAL.
5/5/2024                JOSEPH VANCE                                                  0.50                252.50 CONFER WITH BRAD SMITH AND JASON
                                                                                                                 ROSENBAUM FOR TRIAL PREPARATION.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
5/5/2024                JOSEPH VANCE                                                  0.20                101.00 CONFER WITH DALE ANDERSON FOR TRIAL
                                                                                                                 PREPARATION.
5/5/2024                JOSEPH VANCE                                                  2.00             1,010.00 TRAVEL TO TACOMA FOR TRIAL.
5/6/2024                JASON M ROSENBAUM                                             0.50                162.50 CONFERENCES WITH CLIENTS AND CO-COUNSEL
                                                                                                                 RE: TRIAL STRATEGY.
5/6/2024                JASON M ROSENBAUM                                             1.00                325.00 TRIAL PREPARATIONS.
5/6/2024                JASON M ROSENBAUM                                             8.00             1,800.00 ATTEND DAY 1 OF TRIAL AT U.S. COURTHOUSE IN
                                                                                                                TACOMA.
5/6/2024                JOSEPH VANCE                                                  1.00                505.00 ANALYZE SECTIONS OF STEWARD DEPOSITION TO
                                                                                                                 BE READ AT TRIAL AND EXCHANGE
                                                                                                                 COMMUNICATIONS WITH STATE FARM ATTORNEY
                                                                                                                 RE: SAME.
5/6/2024                JOSEPH VANCE                                                  0.50                252.50 DEBRIEF WITH CLIENTS AND BRAD SMITH AND
                                                                                                                 JASON ROSENBAUM.
5/6/2024                JOSEPH VANCE                                                  8.00             4,040.00 ATTEND TRIAL.
5/6/2024                JOSEPH VANCE                                                  1.00                505.00 PREPARE FOR TRIAL.
5/7/2024                JASON M ROSENBAUM                                             2.50                562.50 TRAVEL FROM TACOMA TO LANDERHOLM OFFICE.
5/7/2024                JASON M ROSENBAUM                                             1.00                325.00 PREPARE FOR TRIAL.
5/7/2024                JASON M ROSENBAUM                                             0.20                   65.00 CORRESPONDENCE WITH COURT STAFF
                                                                                                                   REGARDING TRIAL DELAY.
5/7/2024                JASON M ROSENBAUM                                             0.30                   97.50 CONFERENCE WITH B.SMITH RE: TRIAL DELAY.
5/7/2024                JASON M ROSENBAUM                                             4.00                900.00 ATTEND SECOND DAY OF TRIAL AT U.S.
                                                                                                                 COURTHOUSE IN TACOMA.
5/7/2024                JOSEPH VANCE                                                  2.00             1,010.00 TRAVEL FROM TACOMA.
5/7/2024                JOSEPH VANCE                                                  0.70                353.50 EXCHANGE COMMUNICATIONS WITH CLIENT,
                                                                                                                 OPPOSING COUNSEL AND CO-COUNSEL RE:
                                                                                                                 LOGISTICS AND WITNESSES WITH TRIAL BEING
                                                                                                                 POSTPONED.
5/7/2024                JOSEPH VANCE                                                  0.50                252.50 REVISE WITNESS OUTLINE.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
5/7/2024                JOSEPH VANCE                                                  3.50             1,767.50 ATTEND TRIAL.
5/7/2024                JOSEPH VANCE                                                  0.50                252.50 PREPARE FOR TRIAL.
5/8/2024                JASON M ROSENBAUM                                             0.50                162.50 DRAFT POWERPOINT PRESENTATION FOR
                                                                                                                 CLOSING ARGUMENT.
5/8/2024                JASON M ROSENBAUM                                             0.20                   65.00         CORRESPONDENCE WITH B.SMITH RE: CLOSING
                                                                                                                           ARGUMENT..
5/8/2024                COLLINGER A JOHNSON                                           0.50                   62.50 PREPARE PRESENTATION MATERIALS FOR
                                                                                                                   CLOSING ARGUMENTS.
5/8/2024                JOSEPH VANCE                                                  0.60                303.00 REVIEW AND COMMENT ON SLIDES FOR CLOSING
                                                                                                                 ARGUMENT.
5/9/2024                JASON M ROSENBAUM                                             0.30                   97.50 E-MAILS WITH B.SMITH AND J.VANCE RE: TRIAL
                                                                                                                   PREPARATION.
5/9/2024                JOSEPH VANCE                                                  0.20                101.00 EXCHANGE COMMUNICATIONS WITH BRAD SMITH
                                                                                                                 RE: STRATEGY.
5/9/2024                JOSEPH VANCE                                                  0.10                   50.50 EXCHANGE COMMUNICATIONS WITH COURT
                                                                                                                   CLERK RE: TRIAL.
5/9/2024                JOSEPH VANCE                                                  0.20                101.00 REVIEW PROPOSED VERDICT FORM.
5/9/2024                JOSEPH VANCE                                                  0.20                101.00 TELEPHONE CONFERENCE WITH OPPOSING
                                                                                                                 COUNSEL RE: TRIAL LOGISTICS.
5/10/2024               JASON M ROSENBAUM                                             0.50                162.50 RECEIVE, REVIEW, AND REVISE PROPOSED
                                                                                                                 SPECIAL VERDICT FORM.
5/10/2024               JASON M ROSENBAUM                                             0.30                   97.50 DRAFT AND REVISE CLOSING POWERPOINT.
5/10/2024               JASON M ROSENBAUM                                             0.20                   65.00 E-MAILS WITH B.SMITH AND J.VANCE RE: TRIAL.
5/10/2024               JOSEPH VANCE                                                  3.80             1,919.00 REVISE WITNESS OUTLINE.
5/10/2024               JOSEPH VANCE                                                  0.70                353.50 REVIEW AND COMMENT ON SLIDES FOR CLOSING
                                                                                                                 ARGUMENT.
5/11/2024               COLLINGER A JOHNSON                                           0.70                   87.50 CONTINUE PREPARING CLOSING ARGUMENT
                                                                                                                   PRESENTATION MATERIALS.




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DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
5/12/2024               JASON M ROSENBAUM                                             2.50                562.50 TRAVEL FROM LANDERHOLM OFFICE TO U.S.
                                                                                                                 DISTRICT COURT IN TACOMA.
5/12/2024               JOSEPH VANCE                                                  2.50             1,262.50 TRAVEL TO TACOMA FOR TRIAL.
5/13/2024               JASON M ROSENBAUM                                             1.50                487.50 REVIEW AND ANALYZE WASHINGTON
                                                                                                                 AUTHORITIES RE: DISCRETE ISSUES RAISED BY
                                                                                                                 JUDGE WITH RESPECT TO PLAINTIFF'S MOTION.
5/13/2024               JASON M ROSENBAUM                                             0.50                162.50 PREPARATIONS FOR TRIAL.
5/13/2024               JASON M ROSENBAUM                                             8.00             1,800.00 ATTEND DAY 3 OF TRIAL AT U.S. DISTRICT COURT
                                                                                                                IN TACOMA.
5/13/2024               JOSEPH VANCE                                                  1.50                757.50 ANALYZE ISSUES RELATED TO 30(B)(6) TESTIMONY
                                                                                                                 AND JURY INSTRUCTIONS.
5/13/2024               JOSEPH VANCE                                                  8.00             4,040.00 ATTEND TRIAL.
5/13/2024               JOSEPH VANCE                                                  1.00                505.00 PREPARE FOR TRIAL.
5/14/2024               JASON M ROSENBAUM                                             1.70                552.50 DRAFT CONFORMED JURY INSTRUCTIONS AND
                                                                                                                 SPECIAL VERDICT FORM PER COURT'S
                                                                                                                 INSTRUCTIONS.
5/14/2024               JASON M ROSENBAUM                                             0.30                   97.50 MULTIPLE E-MAILS WITH CO-COUNSEL AND
                                                                                                                   OPPOSING COUNSEL RE: CONFORMED JURY
                                                                                                                   INSTRUCTIONS AND VERDICT FORM.
5/14/2024               JASON M ROSENBAUM                                             8.00             1,800.00 ATTEND DAY 4 OF TRIAL AT U.S. DISTRICT COURT
                                                                                                                IN TACOMA.
5/14/2024               JASON M ROSENBAUM                                             1.50                487.50 PREPARATIONS FOR TRIAL.
5/14/2024               JOSEPH VANCE                                                  1.40                707.00 REVIEW AND COMMENT ON FINAL JURY
                                                                                                                 INSTRUCTIONS.
5/14/2024               JOSEPH VANCE                                                  8.00             4,040.00 ATTEND TRIAL.
5/14/2024               JOSEPH VANCE                                                  2.30             1,161.50 ANALYZE ISSUES RELATED TO JURY INSTRUCTION
                                                                                                                AND TESTIMONY FROM 30(B)(6) WITNESS AND
                                                                                                                EXCHANGE COMMUNICATIONS WITH STATE
                                                                                                                FARM'S ATTORNEY RE: SAME.




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                                                                                                             805 Broadway Street                                T: (360) 696-3312
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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
5/14/2024               NICHOLAS F CODY                                               0.40                150.00 TELEPHONE CALLS AND RESEARCH WITH
                                                                                                                 ATTORNEY VANCE REGARDING JURY
                                                                                                                 INSTRUCTION ISSUES.
5/15/2024               JASON M ROSENBAUM                                             2.50                562.50 TRAVEL FROM U.S. DISTRICT COURT IN TACOMA
                                                                                                                 TO LANDERHOLM OFFICE IN VANCOUVER.
5/15/2024               JASON M ROSENBAUM                                             1.50                487.50 PREPARE FOR TRIAL.
5/15/2024               JASON M ROSENBAUM                                             6.20             1,395.00 ATTEND DAY 5 OF TRIAL AT U.S. DISTRICT COURT
                                                                                                                IN TACOMA.
5/15/2024               JOSEPH VANCE                                                  2.30             1,161.50 TRAVEL FROM TACOMA.
5/15/2024               JOSEPH VANCE                                                  6.20             3,131.00 ATTEND TRIAL.
5/15/2024               JOSEPH VANCE                                                  0.70                353.50 REVIEW AND FINALIZE FINAL JURY INSTRUCTIONS.
5/16/2024               JASON M ROSENBAUM                                             5.50             1,787.50 REVIEW AND ANALYZE WASHINGTON
                                                                                                                AUTHORITIES RE: PREJUDGMENT INTEREST,
                                                                                                                MOTIONS FOR REASONABLE ATTORNEYS' FEES
                                                                                                                AND COSTS, TYPES OF RECOVERABLE COSTS
                                                                                                                UNDER CONSUMER PROTECTION ACT AND BAD
                                                                                                                FAITH, TAXABLE COSTS, AND TIMING AND
                                                                                                                PROCEDURE OF ENTRY OF JUDGMENT.
5/16/2024               JASON M ROSENBAUM                                             0.30                   97.50 RECEIVE AND REVIEW JUDGMENT.
5/16/2024               JASON M ROSENBAUM                                             0.70                227.50 MULTIPLE E-MAILS AND STRATEGIZE WITH
                                                                                                                 B.SMITH AND J.VANCE RE: MOTION FOR
                                                                                                                 PREJUDGMENT INTEREST, ATTORNEYS' FEES AND
                                                                                                                 COSTS.
5/17/2024               JASON M ROSENBAUM                                             0.90                292.50 REVIEW AND ANALYZE WASHINGTON
                                                                                                                 AUTHORITIES RE: EQUITABLE BASIS FOR
                                                                                                                 RECOVERY OF NONTAXABLE COSTS.
5/17/2024               JASON M ROSENBAUM                                             0.60                195.00 CONFERENCE AND MULTIPLE E-MAILS TO
                                                                                                                 DISCUSS STRATEGY FOR MOTION FOR
                                                                                                                 PREJUDGMENT INTEREST, ATTORNEYS' FEES AND
                                                                                                                 NONTAXABLE COSTS.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
5/17/2024               NICHOLAS F CODY                                               0.80                300.00 PREPARE OUTLINE OF PETITION FOR ATTORNEY
                                                                                                                 FEES AND COSTS AND MOTION TO AMEND
                                                                                                                 JUDGMENT (.6); CORRESPONDENCE WITH
                                                                                                                 ATTORNEYS VANCE AND ROSENBAUM
                                                                                                                 REGARDING SAME (.2).
5/17/2024               NICHOLAS F CODY                                               0.90                337.50 TELEPHONE CALL WITH ATTORNEYS VANCE AND
                                                                                                                 ROSENBAUM REGARDING PETITION FOR
                                                                                                                 ATTORNEY FEES [.4]; CONTINUED ANALYSIS OF
                                                                                                                 COMPENSABLE COSTS AND CORRESPONDENCE
                                                                                                                 REGARDING SAME [.5].
5/17/2024               NICHOLAS F CODY                                               1.30                487.50 CONTINUED ANALYSIS REGARDING PETITION FOR
                                                                                                                 ATTORNEY FEES AND COSTS (1.0);
                                                                                                                 CORRESPONDENCE WITH ATTORNEYS VANCE
                                                                                                                 AND ROSENBAUM CONCERNING SAME (.3).
5/17/2024               JOSEPH VANCE                                                  0.30                151.50 EXCHANGE COMMUNICATIONS WITH POTENTIAL
                                                                                                                 EXPERT IN SUPPORT OF FEE PETITION.
5/17/2024               JOSEPH VANCE                                                  1.50                757.50 ANALYZE LEGAL ISSUES FOR FEE PETITION.
5/20/2024               JASON M ROSENBAUM                                             0.50                162.50 REVIEW BILLING ENTRIES AND INTERNAL
                                                                                                                 CORRESPONDENCE REGARDING ATTORNEYS'
                                                                                                                 FEES, COSTS AND EXPENSES.
5/20/2024               JASON M ROSENBAUM                                             7.00             2,275.00 DRAFT MOTION TO AMEND JUDGMENT TO
                                                                                                                INCLUDE TREBLE DAMAGES AND PREJUDGMENT
                                                                                                                INTEREST, AND FOR AN AWARD OF ATTORNEYS'
                                                                                                                FEES AND NONTAXABLE COSTS.
5/20/2024               HEATHER A DUMONT                                              0.20                     0.00 COMPILE FEES AND COSTS RELATING TO TREJO
                                                                                                                    CASE IN EXCEL SHEET FOR ATTORNEY USE FOR
                                                                                                                    FEE PETITION.
5/20/2024               HEATHER A DUMONT                                              1.00                     0.00 COMPILE VENDOR INVOICES SENT DIRECTLY TO
                                                                                                                    CLIENT FOR INCLUSION IN FEE PETITION.
5/20/2024               HEATHER A DUMONT                                              0.20                     0.00 COMPILE FEES AND COSTS IN EXCEL SHEET FOR
                                                                                                                    ATTORNEY USE FOR FEE PETITION.
5/20/2024               NICHOLAS F CODY                                               2.40                900.00 INITIAL REVIEW AND REVISION TO LANDERHOLM
                                                                                                                 FEE ITEMIZATIONS IN PREPARATION FOR



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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
                                                                                                                           ATTORNEY FEE PETITION (2.1);
                                                                                                                           CORRESPONDENCE WITH ATTORNEYS VANCE
                                                                                                                           AND ROSENBAUM REGARDING SAME (.3).
5/20/2024               NICHOLAS F CODY                                               0.50                187.50 MULTIPLE CALL WITH ATTORNEY VANCE
                                                                                                                 REGARDING FEE PETITION (.4);
                                                                                                                 CORRESPONDENCE REGARDING SAME (.1).
5/20/2024               JOSEPH VANCE                                                  0.40                202.00 EXCHANGE COMMUNICATIONS WITH PHIL
                                                                                                                 TALMADGE RE: SUPPORT OF FEE PETITION.
5/20/2024               JOSEPH VANCE                                                  0.20                101.00 EXCHANGE EMAILS WITH DALE ANDERSON RE:
                                                                                                                 STRATEGY.
5/20/2024               JOSEPH VANCE                                                  0.60                303.00 ANALYZE ISSUES RELATED TO FEE PETITION.
5/20/2024               JOSEPH VANCE                                                  1.50                757.50 ANALYZE ISSUES RELATED TO PREJUDGMENT
                                                                                                                 INTEREST.
5/20/2024               JOSEPH VANCE                                                  0.20                101.00 TELEPHONE CONFERENCE WITH BRAD SMITH RE:
                                                                                                                 STRATEGY.
5/21/2024               JASON M ROSENBAUM                                             6.00             1,950.00 DRAFT MOTION AND DECLARATIONS TO AMEND
                                                                                                                JUDGMENT TO INCLUDE TREBLE DAMAGES AND
                                                                                                                PREJUDGMENT INTEREST, AND FOR AN AWARD
                                                                                                                OF ATTORNEYS' FEES AND NONTAXABLE COSTS.
5/21/2024               NICHOLAS F CODY                                               0.90                337.50 INITIAL REVIEW OF FEE ITEMIZATION FROM TREJO
                                                                                                                 LITIGATION (.7); CORRESPONDENCE WITH
                                                                                                                 ATTORNEY STOUMBOS REGARDING SAME (.2).
5/21/2024               JOSEPH VANCE                                                  0.80                404.00 ANALYZE LEGAL ISSUES FOR FEE PETITION.
5/21/2024               JOSEPH VANCE                                                  0.80                404.00 ANALYZE INFORMATION FOR FEE PETITION.
5/22/2024               JASON M ROSENBAUM                                             3.00                975.00 DRAFT MOTION TO AMEND JUDGMENT AND FOR
                                                                                                                 ATTORNEYS' FEES.
5/22/2024               NICHOLAS F CODY                                               0.20                   75.00 TELEPHONE CALL WITH ATTORNEY VANCE
                                                                                                                   REGARDING ATTORNEY FEE PETITION.
5/22/2024               COLLINGER A JOHNSON                                           0.20                   25.00 WORK ON COMPILING INVOICES FOR FEE
                                                                                                                   PETITION.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
5/22/2024               JOSEPH VANCE                                                  1.30                656.50 REVIEW AND COMMENT ON DRAFT PETITION.
5/23/2024               JASON M ROSENBAUM                                             5.50             1,787.50 DRAFT MOTION AND DECLARATIONS TO AMEND
                                                                                                                JUDGMENT AND FOR ATTORNEYS' FEES AND
                                                                                                                NONTAXABLE COSTS.
5/23/2024               NICHOLAS F CODY                                               0.80                300.00 COMPLETE SUMMARY OF ATTORNEY SMITH'S
                                                                                                                 TIME FOR PRESENTATION IN FEE PETITION.
5/23/2024               NICHOLAS F CODY                                               2.40                900.00 INITIAL REVIEW AND REVISIONS TO MOTION FOR
                                                                                                                 ATTORNEY FEES AND PREJUDGMENT INTEREST
                                                                                                                 (2.2); CORRESPONDENCE WITH ATTORNEY
                                                                                                                 ROSENBAUM REGARDING SAME (.2).
5/23/2024               JOSEPH VANCE                                                  0.70                353.50 REVIEW AND COMMENT ON DRAFT PLEADINGS
                                                                                                                 FOR FEE PETITION.
5/24/2024               JASON M ROSENBAUM                                             3.00                975.00 REVIEW AND REVISE ATTORNEY BILLING
                                                                                                                 STATEMENTS FOR PRIVILEGE.
5/24/2024               JASON M ROSENBAUM                                             2.00                650.00 DRAFT/REVISE MOTION FOR ATTORNEY FEES.
5/24/2024               PHILLIP J HABERTHUR                                           0.30                142.50 TELEPHONE CALL WITH NICK CODY REGARDING
                                                                                                                 FEE APPLICATION ISSUES.
5/24/2024               NICHOLAS F CODY                                               0.90                337.50 CONTINUE COMPILATION OF FEE AND COST
                                                                                                                 SUMMARY FOR FEE PETITION (.7);
                                                                                                                 CORRESPONDENCE WITH ATTORNEY
                                                                                                                 ROSENBAUM REGARDING REVISION OF SAME FOR
                                                                                                                 ATTORNEY-CLIENT PRIVILEGE (.2).
5/24/2024               COLLINGER A JOHNSON                                           1.20                150.00 PREPARE SPREADSHEET OF COSTS INCURRED BY
                                                                                                                 CLIENT THROUGH TRIAL.
5/24/2024               JOSEPH VANCE                                                  0.50                252.50 REVIEW AND COMMENT ON DRAFT PLEADINGS
                                                                                                                 FOR FEE PETITION.
5/27/2024               JASON M ROSENBAUM                                             1.50                487.50 DRAFT DECLARATIONS IN SUPPORT OF MOTION
                                                                                                                 FOR ATTORNEY FEES AND COSTS.
5/28/2024               NICHOLAS F CODY                                               3.10             1,162.50 REVIEW AND REVISE FEE ITEMIZATIONS TO OMIT
                                                                                                                PRIVILEGED INFORMATION.




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
5/28/2024               NICHOLAS F CODY                                               1.60                600.00 TELEPHONE CALL WITH ATTORNEY VANCE
                                                                                                                 REGARDING MOTION FOR ATTORNEY FEES [.2];
                                                                                                                 REVIEW AND REVISE SAME AND SUPPORTING
                                                                                                                 DECLARATIONS [.1.4].
5/28/2024               NICHOLAS F CODY                                               6.40             2,400.00 REVIEW AND REVISE MOTION FOR PREJUDGMENT
                                                                                                                INTEREST, STATUTORY DAMAGES, COSTS AND
                                                                                                                FEES AND SUPPORTING DECLARATIONS OF
                                                                                                                COUNSEL AND RETIRED JUSTICE TALMADGE [5.5];
                                                                                                                REVIEW AND BEGIN FINALIZING SUPPORTING FEE
                                                                                                                ITEMIZATIONS [.7]; CORRESPONDENCE WITH
                                                                                                                ATTORNEY VANCE REGARDING SAME [.2].
5/28/2024               JOSEPH VANCE                                                  1.50                757.50 REVIEW AND COMMENT ON DRAFT FEE PETITION
                                                                                                                 PLEADINGS.
5/29/2024               NICHOLAS F CODY                                               3.10             1,162.50 COMPLETE REVIEW OF FEE ITEMIZATIONS AND
                                                                                                                REVISIONS TO SAME TO OMIT PRIVILEGED
                                                                                                                INFORMATION [2.2]; REVIEW AND REVISE COST
                                                                                                                ITEMIZATION [.4]; REVIEW AND REVISE FEE
                                                                                                                PETITION [.5].
5/29/2024               NICHOLAS F CODY                                               0.60                225.00 TELEPHONE CALL WITH ATTORNEY HABERTHUR
                                                                                                                 REGARDING FEE PETITION.
5/29/2024               JASON M ROSENBAUM                                             2.70                877.50 REVIEW AND ANALYZE BILLING ENTRIES IN
                                                                                                                 CONNECTION WITH ATTORNEY FEES MOTION.
5/29/2024               PHILLIP J HABERTHUR                                           0.80                380.00 REVIEW FEE STATEMENTS OF ETTER MCMAHON
                                                                                                                 AND FELTMAN EWING FOR INCLUSION IN
                                                                                                                 ATTORNEY FEE PETITION.
5/29/2024               PHILLIP J HABERTHUR                                           2.40             1,140.00 REVIEW AND REVISE LANDERHOLM TIME ENTRIES
                                                                                                                FOR ATTORNEY FEE PETITION.
5/29/2024               PHILLIP J HABERTHUR                                           0.60                285.00 TELEPHONE CALL WITH NICK CODY REGARDING
                                                                                                                 ATTORNEY FEE PETITION.
5/29/2024               COLLINGER A JOHNSON                                           1.30                162.50 REVISE AND UPDATE SPREADSHEET OF COSTS
                                                                                                                 INCURRED BY LANDERHOLM THROUGH TRIAL.
5/30/2024               NICHOLAS F CODY                                               4.10             1,537.50 COMPLETE REVIEW AND REVISIONS TO MOTION
                                                                                                                FOR PREJUDGMENT INTEREST, STATUTORY



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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

DATE                    NAME                                                   HOURS                 AMOUNT                DESCRIPTION
                                                                                                                           DAMAGES, AND ATTORNEY FEES [2.2]; REVIEW
                                                                                                                           AND REVISE ALL SUPPORTING DECLARATION
                                                                                                                           ATTACHING FEE ITEMIZATIONS [1.1]; COORDINATE
                                                                                                                           WITH STAFF TO COMPILE AND MARK EXHIBITS
                                                                                                                           AND PREPARE SUBMISSIONS FOR FILING [.8].

TOTAL                                                                             858.70          268,141.50


                                                              ----------------------TIME AND FEE SUMMARY----------------------

                                                           ------TIMEKEEPER------                                                          HOURS                          FEES
                                                           AMANDA P BEATSON                                                                    10.50                 1,393.00
                                                           BRADLEY W. ANDERSEN                                                               208.60                63,684.50
                                                           CLAIRE L ROOTJES                                                                    12.90                 3,805.50
                                                           COLLINGER A JOHNSON                                                                 27.70                 3,162.50
                                                           CURTIS J CHRISTENSEN                                                                86.80               14,526.00
                                                           HEATHER A DUMONT                                                                       2.00                       0.00
                                                           JASON M ROSENBAUM                                                                 210.10                63,112.50
                                                           JOSEPH VANCE                                                                      170.10                85,900.50
                                                           MONICA M RECH                                                                          6.10                     95.00
                                                           NICHOLAS F CODY                                                                     69.90               17,850.00
                                                           PHILLIP J HABERTHUR                                                                    9.00               4,073.00
                                                           PRECIOUS M MILLER                                                                   16.40                     689.00
                                                           R. BRYCE SINNER                                                                        4.00               1,240.00
                                                           ZACHARY H. STOUMBOS                                                                 24.60                 8,610.00
                                                           GRAND TOTAL                                                                       858.70           $268,141.50




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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

              COSTS ADVANCED:

                DATE                        DESCRIPTION                                                                                                                                                        AMOUNT
                5/1/2019                      Administrative Fee                                                                                                                                                       20.00
                11/5/2019                     Postage                                                                                                                                                                  17.40
                5/22/2020                     Telephone Charges - - Vendor: Century Link                                                                                                                                  2.30
                1/21/2021                     Telephone Charges - - Vendor: Century Link                                                                                                                               17.13
                7/7/2021                      Deposition of Peggy Foraker - AVIS Rental Car                                                                                                                          614.41
                7/7/2021                      Deposition of Peggy Foraker - United Airlines Inflight                                                                                                                      9.99
                7/7/2021                      Deposition of Peggy Foraker - United Airlines Inflight                                                                                                                   13.99
                7/7/2021                      Deposition of Peggy Foraker - United Airlines Flight                                                                                                                1,274.64
                7/7/2021                      Deposition of Peggy Foraker - Meal                                                                                                                                       16.67
                7/7/2021                      Deposition of Peggy Foraker - Chandler + Halasz Court Reporter                                                                                                         390.00
                7/7/2021                      Deposition of Peggy Foraker - Meal                                                                                                                                       17.90
                7/7/2021                      Deposition of Peggy Foraker - Best Western Hotel                                                                                                                       248.52
                7/7/2021                      Deposition of Peggy Foraker - Meal                                                                                                                                       12.85
                7/7/2021                      Deposition of Peggy Foraker - Meal                                                                                                                                       40.22
                5/16/2022                     Mileage, Parking & Travel - - Vendor: Star Park, LLC                                                                                                                     50.00
                5/16/2022                     Mileage, Parking & Travel                                                                                                                                                63.64
                7/12/2022                     Document Fee - Transcript Fee - - Vendor: Pacer Service Center                                                                                                           26.30
                4/4/2024                      Deposition Fee                                                                                                                                                         240.00
                4/19/2024                     Lexbe Inc - Document Review/Hosting Fees                                                                                                                               179.03
                5/14/2024                     Lexbe Inc - Document Review/Hosting Fees                                                                                                                               179.03
                5/9/2024                      Realtime Transcript of Dale Anderson                                                                                                                                   141.00
                5/16/2024                     Puget Sound Claim Consulting - Expert Danette K. Leonhardi                                                                                                          5,325.00
                4/30/2024                     Xpress Legal Invoice 43721                                                                                                                                             366.55




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                     Case 3:20-cv-05119-DGE                                           Document 107-1                              Filed 05/30/24                          Page 65 of 66
                                                                                                             805 Broadway Street                                T: (360) 696-3312
                                                                                                             Suite 1000                                         T: (503) 283-3393
                                                                                                             PO Box 1086                                        F: (360) 816-2521
                                                                                                             Vancouver, WA 98666                                www.landerholm.com



STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

                DATE                        DESCRIPTION                                                                                                                                                        AMOUNT
                5/21/2024                     Process Service Fee - - Vendor: Xpress Legal Support, LLC                                                                                                              366.55
                5/21/2024                     Process Service Fee - - Vendor: Xpress Legal Support, LLC                                                                                                              287.60
                5/12/2024                     Hotel during trial -- Joseph Vance Part 1                                                                                                                           1,079.90
                5/15/2024                     Hotel during trial -- Joseph Vance Part 2                                                                                                                           1,053.62
                5/7/2024                      Conference Room Reservation Deposit                                                                                                                                 3,772.26
                5/3/2024                      Conference Room Remaining Payment                                                                                                                                      628.71
                5/16/2024                     Conference Room Supplemental Visa Payment                                                                                                                                   0.07
                5/23/2024                     Vance Meal - Trial                                                                                                                                                       46.86
                5/21/2024                     Vance Mileage - Pretrial Conference                                                                                                                                      81.07
                5/21/2024                     Vance Mileage - Pretrial Conference Return                                                                                                                               81.07
                5/21/2024                     Vance Mileage - Trial Part 1                                                                                                                                             81.07
                5/21/2024                     Vance Mileage - Trial Part 1 Return                                                                                                                                      81.07
                5/21/2024                     Vance Mileage - Trial Part 2                                                                                                                                             81.07
                5/21/2024                     Vance Parking - Pretrial Conference                                                                                                                                         6.00
                5/21/2024                     Vance Mileage - Trial Part 2 Return                                                                                                                                      81.07
                5/23/2024                     Rosenbaum Mileage - Pretrial Tech Meeting                                                                                                                                89.78
                5/23/2024                     Rosenbaum Mileage - Pretrial Tech Meeting Return                                                                                                                         89.78
                5/23/2024                     Rosenbaum Mileage - Trial Part 1                                                                                                                                         89.78
                5/23/2024                     Rosenbaum Mileage - Trial Part 1 Return                                                                                                                                  89.78
                5/29/2024                     Rosenbaum Mileage - Trial Part 2                                                                                                                                         89.78
                5/29/2024                     Rosenbaum Mileage - Trial Part 2 Return                                                                                                                                  89.78
                5/8/2024                      Hotel during trial -- Jason Rosenbaum Part 1                                                                                                                        1,044.97
                5/14/2024                     Hotel during trial -- Jason Rosenbaum Part 2                                                                                                                           626.97
                5/15/2024                     Hotel during trial -- Jason Rosenbaum La Quinta                                                                                                                        238.92




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                     Case 3:20-cv-05119-DGE                                           Document 107-1                              Filed 05/30/24                          Page 66 of 66
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STATEMENT

DALE E. ANDERSON                                                                                                                             INVOICE DATE:                                              MAY 30, 2024
                                                                                                                                             INVOICE NUM.:                                                  XXXXXX
                                                                                                                                             MATTER NUMBER:                                      ANDD02-000037

                DATE                        DESCRIPTION                                                                                                                                                        AMOUNT
                5/15/2024                     Courtyard by Marriott                                                                                                                                                    $3.75
                5/15/2024                     Jimmy John's                                                                                                                                                           $34.95
                5/14/2024                     Courtyard by Marriott                                                                                                                                                  $19.65
                5/14/2024                     Jimmy John's                                                                                                                                                           $34.95
                5/13/2024                     Camp Colvos Brewing + Pizza                                                                                                                                            $21.50
                5/13/2024                     Jimmy John's                                                                                                                                                           $46.84
                5/7/2024                      Courtyard by Marriott                                                                                                                                                    $3.75
                5/7/2024                      Courtyard by Marriott                                                                                                                                                  $16.00
                5/6/2024                      Courtyard by Marriott                                                                                                                                                    $3.75
                5/6/2024                      Courtyard by Marriott                                                                                                                                                  $22.00
                5/6/2024                      Tim's Kitchen Tacoma                                                                                                                                                   $25.00
                5/6/2024                      Jimmy John's                                                                                                                                                           $63.34
                5/3/2024                      Tacoma City Parking                                                                                                                                                      $1.00
                5/3/2024                      Tacoma City Parking                                                                                                                                                      $1.50
                5/2/2024                      Tacoma City Parking                                                                                                                                                      $1.50

                Total                                                                                                                                                                                        $19,743.58




                                        TOTAL COSTS ADVANCED THIS INVOICE ....................................                                                                     $19,743.58
                                        TOTAL FEES THIS INVOICE ............................................................                                                    $268,141.50
                                        TOTAL AMOUNT DUE                                                                                                                        $287,885.08




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